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                    LTD., SAMSUNG ELECTRONICS AMERICA,
                 14 INC. and SAMSUNG
                    TELECOMMUNICATIONS AMERICA, LLC
                 15

                 16                              UNITED STATES DISTRICT COURT

                 17                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

                 18

                 19 APPLE INC., a California corporation,          CASE NO. 11-cv-01846-LHK

                 20                 Plaintiff,                     SAMSUNG’S SUPPLEMENTAL
                                                                   OBJECTIONS AND RESPONSES TO
                 21           vs.                                  APPLE INC.’S FIFTH SET OF
                                                                   INTERROGATORIES (11-12)
                 22 SAMSUNG ELECTRONICS CO., LTD., a
                    Korean business entity; SAMSUNG
                 23 ELECTRONICS AMERICA, INC., a New               HIGHLY CONFIDENTIAL –
                    York corporation; SAMSUNG                      ATTORNEYS’ EYES ONLY
                 24 TELECOMMUNICATIONS AMERICA,                    UNDER THE PROTECTIVE ORDER
                    LLC, a Delaware limited liability company,
                 25
                                  Defendant.
                 26

                 27

                 28
02198.51855/4660268.2                                                                Case No. 11-cv-01846-LHK
                                    SAMSUNG’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO APPLE’S FIFTH SET OF
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                                          SUBJECT TO PROTECTIVE ORDER
                        CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                   1          Pursuant to Federal Rules of Civil Procedure 26 and 33, Defendants Samsung Electronics

                   2 Co. Ltd., Samsung Electronics America, Inc., and Samsung Telecommunications America, LLC

                   3 (collectively, “Samsung”) respond to Plaintiff Apple Inc.’s (“Apple”) Fifth Set of Interrogatories

                   4 as follows:

                   5                                   GENERAL STATEMENT
                   6          The following responses are based on discovery available as of the date hereof. It is

                   7 anticipated that expert discovery, independent investigation and analysis may lead to the discovery

                   8 of additional information or documents, supply additional facts and add meaning to known facts,

                   9 as well as establish entirely new factual conclusions and legal contentions, all of which may lead

                 10 to additions to, changes to or variations from the responses set forth herein.

                 11           In addition, the following responses are given without prejudice to Samsung’s right to

                 12 produce or rely on subsequently discovered information, facts or documents.               Samsung

                 13 accordingly reserves the right to change the responses herein and/or produce or rely on

                 14 subsequently discovered documents as additional facts are ascertained, analysis is made, legal

                 15 research is completed and contentions are made. The responses herein are made in a good faith

                 16 effort to comply with the provisions of Rules 26 and 33 of the Federal Rules of Civil Procedure,

                 17 and to supply such responsive information as exists and is presently within Samsung’s possession,

                 18 custody or control, but are in no way to be deemed to be to the prejudice of Samsung in relation to

                 19 further discovery, research and analysis.

                 20           An answer to an interrogatory shall not be deemed a waiver of any applicable general or

                 21 specific objection to an interrogatory. In responding to the interrogatories, Samsung does not

                 22 waive any objections that may be applicable to the use, for any purpose, of any information or

                 23 documents provided in response, or the admissibility, relevance, or materiality of any such

                 24 information or documents to any issue in this case.

                 25           Samsung’s responses to these interrogatories do not constitute admissions relative to the

                 26 existence of any documents or information, to the relevance or admissibility of any documents or

                 27 information, or to the truth or accuracy of any statement or characterization contained in Apple’s

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                   1 requests.     All objections as to relevance, authenticity, or admissibility of any document are

                   2 expressly reserved.

                   3          Samsung expressly incorporates this General Statement and the following General

                   4 Objections as though set forth fully in response to each of the following individual interrogatories

                   5 and, to the extent that they are not raised in any particular response, Samsung does not waive those

                   6 objections.

                   7                                   GENERAL OBJECTIONS
                   8          1.      Samsung objects to the “Definitions” and “Instructions” contained in Apple’s

                   9 Second Set of Interrogatories to the extent they are inconsistent with the Federal Rules of Civil

                 10 Procedure.

                 11           2.      Samsung objects to Apple’s Definition of “Samsung,” “You,” “Your,” and

                 12 “Defendants” as overly broad to the extent it requires Samsung to pursue information from

                 13 individuals no longer employed by Samsung whose data is not currently in the possession of

                 14 Samsung. Samsung further objects to Apple’s Definition of “Samsung,” “You,” “Your,” and

                 15 “Defendants” as overly broad, vague, and ambiguous to the extent it does not define “affiliates,”

                 16 and also to the extent that it requires Samsung to potentially seek information from thousands of

                 17 people. Samsung will respond to interrogatories based on a reasonable inquiry of individuals

                 18 expected to possess the requested information.

                 19           3.      Samsung objects to Apple’s definition of “Apple” to as overly broad, vague, and

                 20 ambiguous.

                 21           4.      Samsung objects to the definition of “Products at Issue” as vague and overbroad to

                 22 the extent it includes “similar products, and any products that Apple accuses of infringing its

                 23 intellectual property in this litigation.” Samsung further objects to the definition of “Products at

                 24 Issue” to the extent it includes products that are not sold and/or have never been sold in the

                 25 United States.

                 26           5.      Samsung objects to the definition of “Hardware Design” as vague and ambiguous.
                 27           6.      Samsung objects to the definition of “Graphical User Interface Design” as vague
                 28 and ambiguous.
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                   1          7.     Samsung objects to the definitions of “Original iPhone Trade Dress,” “iPhone 3G

                   2 Trade Dress,” “iPhone 4 Trade Dress,” “iPhone Trade Dress,” “iPad Trade Dress,” “iPad 2 Trade

                   3 Dress,” to the extent they imply that any aspect of the Apple products’ design constitutes an

                   4 element of its trade dress.

                   5          8.     Samsung objects to the definition of “Accused Feature” to the extent it misstates or

                   6 mischaracterizes the Patents at Issue.

                   7          9.     Samsung objects to the definition of “Source Code” as vague, ambiguous,

                   8 overbroad and overly burdensome. Samsung further objects to the definition to the extent it seeks

                   9 information regarding unreleased prototypes that are not at issue in this lawsuit. Samsung also

                 10 objects to the definition to the extent it seeks multiple and discrete types of information and has

                 11 multiple subparts.

                 12           10.    Samsung objects to the definitions of “Concerning” and/or “Relating,” and each

                 13 and every interrogatory that uses the term “Concerning” or “Relating,” as overly broad, vague and

                 14 ambiguous.

                 15           11.    Samsung objects to the definition of “Third Party” or “Third Parties” as overly

                 16 broad.

                 17           12.    Samsung objects to these interrogatories as vague and ambiguous to the extent

                 18 they include terms that are undefined. Samsung in its responses will identify any terms it believes

                 19 are vague and ambiguous and will assume a reasonable meaning for each such term.

                 20           13.    Samsung objects generally to each interrogatory to the extent that it seeks to elicit

                 21 information subject to and protected by the attorney-client privilege, the attorney work-product

                 22 doctrine, the joint defense privilege, the common interest doctrine, and/or any other applicable

                 23 privilege or immunity. Any inadvertent disclosure of such information shall not be deemed a

                 24 waiver of the attorney-client privilege, the work product doctrine, or any other applicable

                 25 privilege or immunity recognized by statute or case law. Samsung will exchange with Apple a log

                 26 of withheld documents at a time agreed to by counsel for the parties. Samsung also will not log

                 27 privileged documents that were created on or after April 15, 2011.

                 28           14.    Samsung objects generally to the interrogatories to the extent they seek
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                                    SAMSUNG’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO APPLE’S FIFTH SET OF
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                   1 information from outside a reasonable time period or from a point other than a reasonable time.

                   2          15.    Samsung objects to these interrogatories to the extent they seek to compel

                   3 Samsung to generate or create information and/or documents that do not already exist.

                   4          16.    Samsung objects generally to the interrogatories to the extent that they prematurely

                   5 call for contentions, identification of prior art, or identification of witnesses at this stage of the

                   6 litigation.

                   7          17.    Samsung objects to each interrogatory to the extent it is duplicative or cumulative

                   8 of another interrogatory.

                   9          18.    Samsung objects to each interrogatory to the extent it is compound and comprises

                 10 discrete subparts resulting in separate interrogatories.

                 11           19.    Samsung expressly reserves the right to respond to any or all of the interrogatories

                 12 by specifying documents wherein the responsive information may be ascertained pursuant to Rule

                 13 33(d) of the Federal Rules of Civil Procedure.

                 14           20.    Samsung objects generally to the interrogatories to the extent they seek

                 15 confidential proprietary or trade secret information of third parties. Samsung will endeavor to

                 16 work with third parties to obtain their consent, if necessary, before identifying or producing such

                 17 information and/or documents.

                 18           21.    Samsung objects generally to the interrogatories on the grounds that they are

                 19 overly broad, unduly burdensome, and neither relevant nor reasonably calculated to lead to the

                 20 discovery of admissible evidence.

                 21           22.    Samsung objects to the interrogatories on the ground that they are overly broad,

                 22 unduly burdensome and oppressive to the extent they purport to require Samsung to search its

                 23 facilities and inquire of its employees other than those facilities and employees that would

                 24 reasonably be expected to have responsive information. Samsung’s responses are based upon (1)

                 25 a reasonable search and investigation of facilities and files that could reasonably be expected to

                 26 contain responsive information, and (2) inquiries of Samsung’s employees and/or representatives

                 27 who could reasonably be expected to possess responsive information.

                 28           23.    Samsung objects to the interrogatories on the grounds that they seek information
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                   1 already in the possession of Apple, publicly available, or as readily available to Apple as it is to

                   2 Samsung.

                   3          24.    Samsung objects to each interrogatory to the extent that it seeks information before

                   4 Samsung is required to disclose such information in accordance with any applicable law, such as

                   5 the Northern District of California Patent Local Rules.

                   6          25.    Samsung objects to the interrogatories on the grounds and to the extent that they

                   7 seek legal conclusions or call for expert testimony. Samsung’s responses should not be construed

                   8 to provide legal conclusions.

                   9          Subject to and without waiving the foregoing General Statement and General Objections,

                 10 Samsung responds as follows:

                 11                                         INTERROGATORIES
                 12 INTERROGATORY NO. 11:

                 13           Specifically for each of the Design Patents at Issue, explain the factual and legal bases for
                 14 Samsung’s Second Affirmative Defense: Patent Non-Infringement.

                 15

                 16 RESPONSE TO INTERROGATORY NO. 11:

                 17           Samsung objects to this interrogatory as vague and ambiguous. Samsung further objects to
                 18 this interrogatory to the extent that it seeks to elicit information subject to and protected by the

                 19 attorney-client privilege, the attorney work-product doctrine, the joint defense privilege, the

                 20 common interest doctrine, and/or any other applicable privilege or immunity. Samsung further

                 21 objects to this interrogatory as premature to the extent it requests information regarding

                 22 Samsung’s non-infringement contentions before sufficient discovery has been conducted.

                 23 Samsung further objects to this interrogatory to the extent it prematurely calls for contentions at

                 24 this stage of litigation. Samsung will provide such contentions in accordance with the Court’s

                 25 Minute Order and Case Management Order, dated August 25, 2011.

                 26           Subject to the foregoing general and specific objections, Samsung responds as follows:
                 27           For U.S. Patent No. D627,790, the accused Samsung products, as identified in Apple’s
                 28 Response to Samsung Interrogatory No. 5, are not substantially similar to an ordinary observer
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                                     SAMSUNG’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO APPLE’S FIFTH SET OF
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                   1 giving such attention as a purchaser usually gives, particularly when viewed in light of the prior

                   2 art and the functional elements of the design are excluded as a basis for similarity. In addition,

                   3 Samsung’s investigation is ongoing and Samsung will supplement this interrogatory after a

                   4 reasonable investigation and further discovery from Apple on the basis for its infringement

                   5 position.

                   6          For U.S. Patent No. D617,334, the accused Samsung products, as identified in Apple’s

                   7 Response to Samsung Interrogatory No. 5, are not substantially similar to an ordinary observer

                   8 giving such attention as a purchaser usually gives, particularly when viewed in light of the prior

                   9 art and the functional elements of the design are excluded as a basis for similarity. In addition,

                 10 Samsung’s investigation is ongoing and Samsung will supplement this interrogatory after a

                 11 reasonable investigation and further discovery from Apple on the basis for its infringement

                 12 position.

                 13           For U.S. Patent No. D604,305, the accused Samsung products, as identified in Apple’s

                 14 Response to Samsung Interrogatory No. 5, are not substantially similar to an ordinary observer

                 15 giving such attention as a purchaser usually gives, particularly when viewed in light of the prior

                 16 art and the functional elements of the design are excluded as a basis for similarity. In addition,

                 17 Samsung’s investigation is ongoing and Samsung will supplement this interrogatory after a

                 18 reasonable investigation and further discovery from Apple on the basis for its infringement

                 19 position.

                 20           For U.S. Patent No. D593,087, the accused Samsung products, as identified in Apple’s

                 21 Response to Samsung Interrogatory No. 5, are not substantially similar to an ordinary observer

                 22 giving such attention as a purchaser usually gives, particularly when viewed in light of the prior

                 23 art and the functional elements of the design are excluded as a basis for similarity. In addition,

                 24 Samsung’s investigation is ongoing and Samsung will supplement this interrogatory after a

                 25 reasonable investigation and further discovery from Apple on the basis for its infringement

                 26 position. Samsung also incorporates by reference the Declaration of Itay Sherman in Support of

                 27 Samsung’s Opposition to Apple’s Motion for a Preliminary Injunction (Dkt. No. 172).

                 28
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                                          SUBJECT TO PROTECTIVE ORDER
                        CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                   1          For U.S. Patent No. D618,677, the accused Samsung products, as identified in Apple’s

                   2 Response to Samsung Interrogatory No. 5, are not substantially similar to an ordinary observer

                   3 giving such attention as a purchaser usually gives, particularly when viewed in light of the prior

                   4 art and the functional elements of the design are excluded as a basis for similarity. In addition,

                   5 Samsung’s investigation is ongoing and Samsung will supplement this interrogatory after a

                   6 reasonable investigation and further discovery from Apple on the basis for its infringement

                   7 position. Samsung also incorporates by reference the Declaration of Itay Sherman in Support of

                   8 Samsung’s Opposition to Apple’s Motion for a Preliminary Injunction (Dkt. No. 172).

                   9          For U.S. Patent No. D622,270, the accused Samsung products, as identified in Apple’s

                 10 Response to Samsung Interrogatory No. 5, are not substantially similar to an ordinary observer

                 11 giving such attention as a purchaser usually gives, particularly when viewed in light of the prior

                 12 art and the functional elements of the design are excluded as a basis for similarity. In addition,

                 13 Samsung’s investigation is ongoing and Samsung will supplement this interrogatory after a

                 14 reasonable investigation and further discovery from Apple on the basis for its infringement

                 15 position.

                 16           For U.S. Patent No. D504,889, the accused Samsung products, as identified in Apple’s

                 17 Response to Samsung Interrogatory No. 5, are not substantially similar to an ordinary observer

                 18 giving such attention as a purchaser usually gives, particularly when viewed in light of the prior

                 19 art and the functional elements of the design are excluded as a basis for similarity. In addition,

                 20 Samsung’s investigation is ongoing and Samsung will supplement this interrogatory after a

                 21 reasonable investigation and further discovery from Apple on the basis for its infringement

                 22 position. Samsung also incorporates by reference the Declaration of Itay Sherman in Support of

                 23 Samsung’s Opposition to Apple’s Motion for a Preliminary Injunction (Dkt. No. 172).

                 24

                 25 FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 11 (3/19/12):

                 26           Samsung objects to this interrogatory as vague and ambiguous. Samsung further objects to
                 27 this interrogatory to the extent that it seeks to elicit information subject to and protected by the

                 28 attorney-client privilege, the attorney work-product doctrine, the joint defense privilege, the
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                   1 common interest doctrine, and/or any other applicable privilege or immunity. Samsung further

                   2 objects to this interrogatory to the extent it prematurely calls for expert testimony. Samsung

                   3 hereby incorporates by reference any expert testimony, declarations, or reports previously

                   4 submitted in this action or which may be submitted in accordance with the Court’s Minute Order

                   5 and Case Management Order, dated August 25, 2011, which address the scope of the Design

                   6 Patents at Issue or the non-infringement of any Samsung product accused of design patent

                   7 infringement. Samsung also reserves the right to supplement or amend this response if Apple

                   8 attempts to supplement or amend in any way its design patent infringement contentions contained

                   9 in its Response to Samsung’s Interrogatory No. 72, either through direct supplementation or

                 10 amendment of its Response or through any expert report or testimony.

                 11           Subject to the foregoing general and specific objections, Samsung responds as follows:

                 12           Design patents can only protect those aspects of the design that are ornamental, not

                 13 functional. “If the patented design is primarily functional rather than ornamental, the patent is

                 14 invalid. However, when the design also contains ornamental aspects, it is entitled to a design

                 15 patent whose scope is limited to those aspects alone and does not extend to any functional

                 16 elements of the claimed article.” Richardson v. Stanley Works, Inc., 597 F.3d 1288, 1293-94 (Fec.

                 17 Cir. 2010) (internal citation omitted). Therefore, to the extent that each the Design Patents at Issue

                 18 contain any ornamental aspects, the scope of those patents is narrowly limited to only those

                 19 ornamental aspects and does not include the entirety of the claimed designs, which incorporate

                 20 numerous functional features. See id. (“A claim to a design containing numerous functional

                 21 elements, such as here, necessarily mandates a narrow construction.”). Further, “it is the non-

                 22 functional, design aspects that are pertinent to determinations of infringement.” Lee v. Dayton-

                 23 Hudson Corp., 838 F.2d 1186, 1188 (Fed. Cir. 1988). Thus, only those features of the Design

                 24 Patents at Issue which are ornamental, if such features exist at all, are properly compared with the

                 25 accused Samsung products to assess infringement. See id.at 1188-89 (“A device that copies the

                 26 utilitarian or functional features of a patented design is not an infringement unless the ornamental

                 27 aspects are also copied.”) Samsung incorporates by reference its Responses to Apple’s

                 28 Interrogatory No. 38 (Samsung’s Objections and Responses to Apple’s Tenth Set of
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                   1 Interrogatories (nos. 27-38), dated Feb. 29, 2012) and No. 12 (contained herein), which detail

                   2 functional features contained in the Design Patents at Issue.

                   3           Moreover, any assessment of infringement must consider the prior art. “The ordinary

                   4 observer is deemed to view the differences between the patented design and the accused product in

                   5 the context of the prior art. When the differences between the claimed and accused design are

                   6 viewed in light of the prior art, the attention of the hypothetical ordinary observer will be drawn to

                   7 those aspects of the claimed design that differ from the prior art. And when the claimed design is

                   8 close to the prior art designs, small differences between the accused design and the claimed design

                   9 are likely to be important to the eye of the hypothetical ordinary observer.” Egyptian Goddess,

                 10 Inc. v. Swisa, Inc., 543 F.3d 665, 676 (Fed. Cir. 2008). Because the designs claimed by the

                 11 Design Patents at Issue are incredibly close to, if not wholly anticipated or made obvious by, the

                 12 prior art, the differences between the accused Samsung products and the Design Patents at Issue

                 13 are likely to be important to the ordinary observer. Samsung incorporates by reference its

                 14 Supplemental Response to Apple’s Interrogatory No. 12, contained herein, which details the prior

                 15 art to the Design Patents at Issue.

                 16            Further, the scope of the Design Patents at Issue is necessarily limited because Apple and

                 17 Samsung have both obtained design patents since the issuance of the Design Patents at Issue that

                 18 demonstrate unequivocally that similar designs are not substantially the same as those claimed in

                 19 the Design Patents at Issue. By way of example only, Apple obtained U.S. Patent No. D633,091

                 20 after it obtained U.S. Patent No. 622,270 (the “D’270 patent”), one of the Design Patents at Issue.

                 21 Because a design patent may only be granted for a “new, original, and ornamental design,” 35

                 22 U.S.C. § 171 (emphasis added), the design claimed in D633,091 cannot be substantially the same

                 23 as the design claimed by the D’270 patent. However, since the differences between D633,091 and

                 24 D’270 are minor, the scope of the D’270 patent must therefore be very narrow, such that a minor

                 25 difference results in a “new, original” design. Similarly, D602,486, D602,014, D624,536,

                 26 D622,718, D604,297, D613,735, D622,719, D633,091, D637,596, D627,777, D558,758,

                 27 D558,756, D580,387, D581,922, D613,736, D634,319, D618,677, D618,678, D593,087,

                 28 D622,270, D504,889, D627,790, D617,334, D604,305, D644,239, and D597,101, as well as all of
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                   1 the patents and file histories produced at SAMNDCA00359166-SAMNDCA00365544,

                   2 SAMNDCA00365600-SAMNDCA00365840, and SAMNDCA00373535-SAMNDCA00374040,

                   3 demonstrate that the scope of each of the Design Patents at Issue must be very narrow.

                   4           Regarding U.S. Patent No. D627,790 (the “D’790 patent”), Samsung incorporates by

                   5 reference its Response to Apple’s Interrogatory No. 38 (Samsung’s Objections and Responses to

                   6 Apple’s Tenth Set of Interrogatories (nos. 27-38), dated Feb. 29, 2012) and No. 12 (contained

                   7 herein) which explain that every aspect of the claimed design is functional. Accordingly, the

                   8 D’790 patent is invalid. However, if it is determined that any of the features claimed by the D’790

                   9 patent are ornamental, the scope of the D’790 patent is limited to those features. To the extent that

                 10 the Samsung devices Apple accuses of infringement of the D’790 patent share any features with

                 11 the D’790 patent, such features are wholly functional and therefore irrelevant to a determination of

                 12 infringement. To the extent the D’790 patent claims any ornamental features, such features are

                 13 not present in the Samsung devices accused of infringement of the D’790 patent.

                 14            Moreover, Samsung incorporates by reference its Supplemental Response to Apple’s

                 15 Interrogatory No. 12, contained herein, which demonstrates that the D’790 patent is anticipated or

                 16 made obvious by the prior art, or is invalid due to double patenting, indefiniteness, or otherwise.

                 17 To the extent the D’790 patent is valid, the differences between the D’790 patent and the Samsung

                 18 devices accused of infringement of the D’790 patent, viewed in light of the prior art, are likely to

                 19 be important to the eye of the hypothetical ordinary observer. Therefore, the ordinary observer is

                 20 not likely to find the Samsung devices accused of infringement of the D’790 patent to be

                 21 substantially the same as the D’790 patent.

                 22            Finally, the scope of the D’790 patent is necessarily narrow since Apple has subsequently

                 23 obtained design patents on similar designs, including but not limited to D644,239 and D597,101.

                 24 Because the scope of the D’790 patent is so limited, the ordinary observer would not find the

                 25 Samsung devices accused of infringement of the D’790 patent to be substantially the same as the

                 26 narrowly-construed D’790 claimed design.

                 27            Regarding U.S. Patent No. D617,334 (the “D’334 patent”), Samsung incorporates by

                 28 reference its Response to Apple’s Interrogatory No. 38 (Samsung’s Objections and Responses to
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                   1 Apple’s Tenth Set of Interrogatories (nos. 27-38), dated Feb. 29, 2012) and No. 12 (contained

                   2 herein), which explain that every aspect of the claimed design is functional. Accordingly, the

                   3 D’334 patent is invalid. However, if it is determined that any of the features claimed by the D’334

                   4 patent are ornamental, the scope of the D’334 patent is limited to those features. To the extent that

                   5 the Samsung devices Apple accuses of infringement of the D’334 patent share any features with

                   6 the D’334 patent, such features are wholly functional and therefore irrelevant to a determination of

                   7 infringement. To the extent the D’334 patent claims any ornamental features, such features are

                   8 not present in the Samsung devices accused of infringement of the D’334 patent.

                   9           Moreover, Samsung incorporates by reference its Supplemental Response to Apple’s

                 10 Interrogatory No. 12, contained herein, which demonstrates that the D’334 patent is anticipated or

                 11 made obvious by the prior art, or is invalid due to double patenting, indefiniteness, or otherwise.

                 12 To the extent the D’334 patent is valid, the differences between the D’334 patent and the Samsung

                 13 devices accused of infringement of the D’334 patent, viewed in light of the prior art, are likely to

                 14 be important to the eye of the hypothetical ordinary observer. Therefore, the ordinary observer is

                 15 not likely to find the Samsung devices accused of infringement of the D’334 to be substantially

                 16 the same as the D’334 patent.

                 17            Finally, the scope of the D’334 patent is necessarily narrow since Apple obtained this

                 18 patent subsequent to being granted U.S. Patent No. D604,305, which contains a very similar

                 19 design. The D’334 patent could not have issued in light of the D604,305 patent unless the D’334

                 20 claimed design were different from that of the D604,305 patent. However, because the designs of

                 21 these two patents are so similar, the scope of the D’334 patent must be narrowly construed to

                 22 explain its issuance in light of D604,305. Because the scope of the D’334 patent is so limited, the

                 23 ordinary observer would not find the Samsung devices accused of infringement of the D’334

                 24 patent to be substantially the same as the narrowly-construed D’334 claimed design.

                 25            Regarding U.S. Patent No. D604,305 (the “D’305 patent”), Samsung incorporates by

                 26 reference its Response to Apple’s Interrogatory No. 38 (Samsung’s Objections and Responses to

                 27 Apple’s Tenth Set of Interrogatories (nos. 27-38), dated Feb. 29, 2012) and No. 12 (contained

                 28 herein), which explains that every aspect of the claimed design is functional. Accordingly, the
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                   1 D’305 patent is invalid. However, if it is determined that any of the features claimed by the D’305

                   2 patent are ornamental, the scope of the D’305 patent is limited to those features. To the extent that

                   3 the Samsung devices Apple accuses of infringement of the D’305 patent share any features with

                   4 the D’305 patent, such features are wholly functional and therefore irrelevant to a determination of

                   5 infringement. To the extent the D’305 patent claims any ornamental features, such features are

                   6 not present in the Samsung devices accused of infringement of the D’305 patent.

                   7           Moreover, Samsung incorporates by reference its Supplemental Response to Apple’s

                   8 Interrogatory No. 12, contained herein, which demonstrates that the D’305 patent is anticipated or

                   9 made obvious by the prior art, or is invalid due to double patenting, indefiniteness, or otherwise.

                 10 To the extent the D’305 patent is valid, the differences between the D’305 patent and the Samsung

                 11 devices accused of infringement of the D’305 patent, viewed in light of the prior art, are likely to

                 12 be important to the eye of the hypothetical ordinary observer. Therefore, the ordinary observer is

                 13 not likely to find the Samsung devices accused of infringement of the D’305 patent to be

                 14 substantially the same as the D’305 patent.

                 15            Finally, the scope of the D’305 patent is necessarily narrow since Apple has subsequently

                 16 obtained design patents on similar designs, including the D’334 patent. Because the scope of the

                 17 D’305 patent is so limited, the ordinary observer would not find the Samsung devices accused of

                 18 infringement of the D’305 patent to be substantially the same as the narrowly-construed D’305

                 19 claimed design.

                 20            Regarding U.S. Patent No. D593,087 (the “D’087 patent”), Samsung incorporates by

                 21 reference its Response to Apple’s Interrogatory No. 38 (Samsung’s Objections and Responses to

                 22 Apple’s Tenth Set of Interrogatories (nos. 27-38), dated Feb. 29, 2012) and No. 12 (contained

                 23 herein), which explain that every aspect of the claimed design is functional. Accordingly, the

                 24 D’087 patent is invalid. However, if it is determined that any of the features claimed by the D’087

                 25 patent are ornamental, the scope of the D’087 patent is limited to those features. To the extent that

                 26 the Samsung devices Apple accuses of infringement of the D’087 patent share any features with

                 27 the D’087 patent, such features are wholly functional and therefore irrelevant to a determination of

                 28
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                   1 infringement. To the extent the D’087 patent claims any ornamental features, such features are

                   2 not present in the Samsung devices accused of infringement of the D’087 patent.

                   3           Moreover, Samsung incorporates by reference its Supplemental Response to Apple’s

                   4 Interrogatory No. 12, contained herein, which demonstrates that the D’087 patent is anticipated or

                   5 made obvious by the prior art, or is invalid due to double patenting, indefiniteness, or otherwise.

                   6 To the extent the D’087 patent is valid, the differences between the D’087 patent and the Samsung

                   7 devices accused of infringement of the D’087 patent, viewed in light of the prior art, are likely to

                   8 be important to the eye of the hypothetical ordinary observer. Therefore, the ordinary observer is

                   9 not likely to find the Samsung devices accused of infringement of the D’087 patent to be

                 10 substantially the same as the D’087 patent.

                 11            Finally, the scope of the D’087 patent is necessarily narrow since Apple has subsequently

                 12 obtained design patents on similar designs. Because the scope of the D’087 patent is so limited,

                 13 the ordinary observer would not find the Samsung devices accused of infringement of the D’087

                 14 patent to be substantially the same as the narrowly-construed D’087 claimed design.

                 15            Regarding U.S. Patent No. D618,677(the “D’677 patent”), Samsung incorporates by

                 16 reference its Response to Apple’s Interrogatory No. 38 (Samsung’s Objections and Responses to

                 17 Apple’s Tenth Set of Interrogatories (nos. 27-38), dated Feb. 29, 2012) and No. 12 (contained

                 18 herein), which explain that every aspect of the claimed design is functional. Accordingly, the

                 19 D’677 patent is invalid. However, if it is determined that any of the features claimed by the D’677

                 20 patent are ornamental, the scope of the D’677 patent is limited to those features. To the extent that

                 21 the Samsung devices Apple accuses of infringement of the D’677 patent share any features with

                 22 the D’677 patent, such features are wholly functional and therefore irrelevant to a determination of

                 23 infringement. To the extent the D’677 patent claims any ornamental features, such features are

                 24 not present in the Samsung devices accused of infringement of the D’677 patent.

                 25            Moreover, Samsung incorporates by reference its Supplemental Response to Apple’s

                 26 Interrogatory No. 12, contained herein, which demonstrates that the D’677 patent is anticipated or

                 27 made obvious by the prior art, or is invalid due to double patenting, indefiniteness, or otherwise.

                 28 To the extent the D’677 patent is valid, the differences between the D’677 patent and the Samsung
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                   1 devices accused of infringement of the D’677 patent, viewed in light of the prior art, are likely to

                   2 be important to the eye of the hypothetical ordinary observer. Therefore, the ordinary observer is

                   3 not likely to find the Samsung devices accused of infringement of the D’677 patent to be

                   4 substantially the same as the D’677 patent.

                   5           Finally, the scope of the D’677 patent is necessarily narrow since Apple has subsequently

                   6 obtained design patents on similar designs. Because the scope of the D’677 patent is so limited,

                   7 the ordinary observer would not find the Samsung devices accused of infringement of the D’677

                   8 patent to be substantially the same as the narrowly-construed D’677 claimed design.

                   9           Regarding U.S. Patent No. D622,270 (the “D’270 patent”), Samsung incorporates by

                 10 reference its Response to Apple’s Interrogatory No. 38 (Samsung’s Objections and Responses to

                 11 Apple’s Tenth Set of Interrogatories (nos. 27-38), dated Feb. 29, 2012) and No. 12 (contained

                 12 herein), which explain that every aspect of the claimed design is functional. Accordingly, the

                 13 D’270 patent is invalid. However, if it is determined that any of the features claimed by the D’270

                 14 patent are ornamental, the scope of the D’270 patent is limited to those features. To the extent that

                 15 the Samsung devices Apple accuses of infringement of the D’270 patent share any features with

                 16 the D’270 patent, such features are wholly functional and therefore irrelevant to a determination of

                 17 infringement. To the extent the D’270 patent claims any ornamental features, such features are

                 18 not present in the Samsung devices accused of infringement of the D’270 patent.

                 19            Moreover, Samsung incorporates by reference its Supplemental Response to Apple’s

                 20 Interrogatory No. 12, contained herein, which demonstrates that the D’270 patent is anticipated or

                 21 made obvious by the prior art, or is invalid due to double patenting, indefiniteness, or otherwise.

                 22 To the extent the D’270 patent is valid, the differences between the D’270 patent and the Samsung

                 23 devices accused of infringement of the D’270 patent, viewed in light of the prior art, are likely to

                 24 be important to the eye of the hypothetical ordinary observer. Therefore, the ordinary observer is

                 25 not likely to find the Samsung devices accused of infringement of the D’270 patent to be

                 26 substantially the same as the D’270 patent.

                 27            Finally, the scope of the D’270 patent is necessarily narrow since Apple has subsequently

                 28 obtained design patents on similar designs. Because the scope of the D’270 patent is so limited,
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                   1 the ordinary observer would not find the Samsung devices accused of infringement of the D’270

                   2 patent to be substantially the same as the narrowly-construed D’270 claimed design.

                   3           Regarding U.S. Patent No. D504,889 (the “D’889 patent”), Samsung incorporates by

                   4 reference its Response to Apple’s Interrogatory No. 38 (Samsung’s Objections and Responses to

                   5 Apple’s Tenth Set of Interrogatories (nos. 27-38), dated Feb. 29, 2012) and No. 12 (contained

                   6 herein), which explain that every aspect of the claimed design is functional. Accordingly, the

                   7 D’889 patent is invalid. However, if it is determined that any of the features claimed by the D’889

                   8 patent are ornamental, the scope of the D’889 patent is limited to those features. To the extent that

                   9 the Samsung devices Apple accuses of infringement of the D’889 patent share any features with

                 10 the D’889 patent, such features are wholly functional and therefore irrelevant to a determination of

                 11 infringement. To the extent the D’889 patent claims any ornamental features, such features are

                 12 not present in the Samsung devices accused of infringement of the D’889 patent.

                 13            Moreover, Samsung incorporates by reference its Supplemental Response to Apple’s

                 14 Interrogatory No. 12, contained herein, which demonstrates that the D’889 patent is anticipated or

                 15 made obvious by the prior art, or is invalid due to double patenting, indefiniteness, or otherwise.

                 16 To the extent the D’889 patent is valid, the differences between the D’889 patent and the Samsung

                 17 devices accused of infringement of the D’889 patent, viewed in light of the prior art, are likely to

                 18 be important to the eye of the hypothetical ordinary observer. Therefore, the ordinary observer is

                 19 not likely to find the Samsung devices accused of infringement of the D’889 patent to be

                 20 substantially the same as the D’889 patent.

                 21            Finally, the scope of the D’889 patent is necessarily narrow since Apple has subsequently

                 22 obtained design patents on similar designs. Because the scope of the D’889 patent is so limited,

                 23 the ordinary observer would not find the Samsung devices accused of infringement of the D’889

                 24 patent to be substantially the same as the narrowly-construed D’889 claimed design.

                 25

                 26 INTERROGATORY NO. 12:

                 27            Specifically for each of the Design Patents at Issue, explain the factual and legal bases for
                 28 Samsung’s Third Affirmative Defense: Patent Invalidity. The response should include: (a) the
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                   1 identity of any item of prior art that Samsung alleges anticipates each Design Patent at Issue; (b)

                   2 the identity of any item of prior art that Samsung alleges is a primary reference pursuant to In re

                   3 Rosen, 673 F.2d 388 (CCPA 1982); (c) the identity of any combinations of prior art that Samsung

                   4 alleges render any of the Design Patents at Issue obvious, including an explanation of why the

                   5 prior art renders each Design Patent at Issue obvious; and (d) any other grounds of invalidity

                   6 alleged by Samsung, including those based on 35 U.S.C. §§ 101, 102, 103, 112 and/or 171.

                   7

                   8 RESPONSE TO INTERROGATORY NO. 12:

                   9           Samsung objects to this interrogatory as vague and ambiguous. Samsung further objects to
                 10 this interrogatory to the extent that it seeks to elicit information subject to and protected by the

                 11 attorney-client privilege, the attorney work-product doctrine, the joint defense privilege, the

                 12 common interest doctrine, and/or any other applicable privilege or immunity. Samsung further

                 13 objects to this interrogatory as premature to the extent it requests information regarding

                 14 Samsung’s invalidity contentions before sufficient discovery has been conducted. Samsung

                 15 further objects to this interrogatory to the extent it prematurely calls for contentions at this stage of

                 16 litigation. Samsung further objects to this interrogatory because it contains multiple subparts such

                 17 that each should count as a separate interrogatory. Samsung will provide such contentions in

                 18 accordance with the Court’s Minute Order and Case Management Order, dated August 25, 2011.

                 19            Subject to the foregoing general and specific objections, Samsung responds as follows:
                 20            For U.S. Patent No. D627,790, because the burden of deriving or ascertaining the answer
                 21 to this Interrogatory from the produced business records is substantially the same for Apple as for

                 22 Samsung, in accordance with Federal Rule of Civil Procedure 33(d), Samsung refers Apple to

                 23 documents produced in this action related to prior art, including the following documents:

                 24 SAMNDCA00020035-20119; SAMNDCA00020499-20575; SAMNDCA00020879-20899;

                 25 SAMNDCA00021500-21504; SAMNDCA00021894-22450; SAMNDCA00022764-22801;

                 26 SAMNDCA00023585-23590; SAMNDCA00024570-24581; SAMNDCA00199073-199148;

                 27 SAMNDCA00199210-199401; SAMNDCA00199525-200616; SAMNDCA00200640-200649;

                 28 SAMNDCA00200659-200660; SAMNDCA00200666-200669; SAMNDCA00200677-200685;
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                   1 SAMNDCA00200715-200723; SAMNDCA00200734-200736; SAMNDCA00200749-200750;

                   2 SAMNDCA00200789-200791; SAMNDCA00200807-200808; SAMNDCA00200839-200842;

                   3 SAMNDCA00200926-200927; SAMNDCA00200941-200952; SAMNDCA00200961-200971;

                   4 SAMNDCA00201021-201022; SAMNDCA00201076-201077; SAMNDCA00201095-201097;

                   5 SAMNDCA00201112-201113; SAMNDCA00201141-201142; SAMNDCA00201151-201159;

                   6 SAMNDCA00201168-201171; SAMNDCA00201183-201188; SAMNDCA00201205-201206;

                   7 SAMNDCA00201211-201220; SAMNDCA00201241-201249.

                   8           Samsung believes that the identified prior art, standing alone, or in combination, would be

                   9 substantially similar to an ordinary observer giving such attention as a purchaser usually gives, to

                 10 Apple's design patent, rendering the patent invalid as anticipated and/or obvious. Samsung also

                 11 believes that Apple's design patent is invalid because it is the subject of double-patenting, is

                 12 indefinite, and because the design is not ornamental. In addition, Samsung’s investigation is

                 13 ongoing and Samsung will supplement this interrogatory after a reasonable investigation and

                 14 further discovery from Apple on the basis for its infringement position.

                 15            For U.S. Patent No. D617,334, because the burden of deriving or ascertaining the answer

                 16 to this Interrogatory from the produced business records is substantially the same for Apple as for

                 17 Samsung, in accordance with Federal Rule of Civil Procedure 33(d), Samsung refers Apple to

                 18 documents produced in this action related to prior art, including the following documents:

                 19 SAMNDCA00020035-20119; SAMNDCA00020499-20575; SAMNDCA00020879-20899;

                 20 SAMNDCA00021500-21504; SAMNDCA00021894-22450; SAMNDCA00022764-22801;

                 21 SAMNDCA00023585-23590; SAMNDCA00024570-24581; SAMNDCA00199073-199148;

                 22 SAMNDCA00199210-199401; SAMNDCA00199525-200616; SAMNDCA00200640-200649;

                 23 SAMNDCA00200659-200660; SAMNDCA00200666-200669; SAMNDCA00200677-200685;

                 24 SAMNDCA00200715-200723; SAMNDCA00200734-200736; SAMNDCA00200749-200750;

                 25 SAMNDCA00200789-200791; SAMNDCA00200807-200808; SAMNDCA00200839-200842;

                 26 SAMNDCA00200926-200927; SAMNDCA00200941-200952; SAMNDCA00200961-200971;

                 27 SAMNDCA00201021-201022; SAMNDCA00201076-201077; SAMNDCA00201095-201097;

                 28 SAMNDCA00201112-201113; SAMNDCA00201141-201142; SAMNDCA00201151-201159;
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                   1 SAMNDCA00201168-201171; SAMNDCA00201183-201188; SAMNDCA00201205-201206;

                   2 SAMNDCA00201211-201220; SAMNDCA00201241-201249.

                   3           Samsung believes that the identified prior art, standing alone, or in combination, would be

                   4 substantially similar to an ordinary observer giving such attention as a purchaser usually gives, to

                   5 Apple's design patent, rendering the patent invalid as anticipated and/or obvious. Samsung also

                   6 believes that Apple's design patent is invalid because it is the subject of double-patenting, is

                   7 indefinite, and because the design is not ornamental. In addition, Samsung’s investigation is

                   8 ongoing and Samsung will supplement this interrogatory after a reasonable investigation and

                   9 further discovery from Apple on the basis for its infringement position.

                 10            For U.S. Patent No. D604,305, because the burden of deriving or ascertaining the answer

                 11 to this Interrogatory from the produced business records is substantially the same for Apple as for

                 12 Samsung, in accordance with Federal Rule of Civil Procedure 33(d), Samsung refers Apple to

                 13 documents produced in this action related to prior art, including the following documents:

                 14 SAMNDCA00020035-20119; SAMNDCA00020499-20575; SAMNDCA00020879-20899;

                 15 SAMNDCA00021500-21504; SAMNDCA00021894-22450; SAMNDCA00022764-22801;

                 16 SAMNDCA00023585-23590; SAMNDCA00024570-24581; SAMNDCA00199073-199148;

                 17 SAMNDCA00199210-199401; SAMNDCA00199525-200616; SAMNDCA00200640-200649;

                 18 SAMNDCA00200659-200660; SAMNDCA00200666-200669; SAMNDCA00200677-200685;

                 19 SAMNDCA00200715-200723; SAMNDCA00200734-200736; SAMNDCA00200749-200750;

                 20 SAMNDCA00200789-200791; SAMNDCA00200807-200808; SAMNDCA00200839-200842;

                 21 SAMNDCA00200926-200927; SAMNDCA00200941-200952; SAMNDCA00200961-200971;

                 22 SAMNDCA00201021-201022; SAMNDCA00201076-201077; SAMNDCA00201095-201097;

                 23 SAMNDCA00201112-201113; SAMNDCA00201141-201142; SAMNDCA00201151-201159;

                 24 SAMNDCA00201168-201171; SAMNDCA00201183-201188; SAMNDCA00201205-201206;

                 25 SAMNDCA00201211-201220; SAMNDCA00201241-201249.

                 26            Samsung believes that the identified prior art, standing alone, or in combination, would be

                 27 substantially similar to an ordinary observer giving such attention as a purchaser usually gives, to

                 28 Apple's design patent, rendering the patent invalid as anticipated and/or obvious. Samsung also
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                   1 believes that Apple's design patent is invalid because it is the subject of double-patenting, is

                   2 indefinite, and because the design is not ornamental. In addition, Samsung’s investigation is

                   3 ongoing and Samsung will supplement this interrogatory after a reasonable investigation and

                   4 further discovery from Apple on the basis for its infringement position.

                   5           For U.S. Patent No. D593,087, because the burden of deriving or ascertaining the answer

                   6 to this Interrogatory from the produced business records is substantially the same for Apple as for

                   7 Samsung, in accordance with Federal Rule of Civil Procedure 33(d), Samsung refers Apple to

                   8 documents produced in this action related to prior art, including the following documents:

                   9 SAMNDCA00019932-20034; SAMNDCA00020120-20303; SAMNDCA00020394-20498;

                 10 SAMNDCA00020782-20878; SAMNDCA00020900-20906; SAMNDCA00020978-20989;

                 11 SAMNDCA00021255-21313; SAMNDCA00021315-21336; SAMNDCA00021341-21471;

                 12 SAMNDCA00021479-21499; SAMNDCA00021505-21588; SAMNDCA00021593-21604;

                 13 SAMNDCA00021608-21632; SAMNDCA00021634-21805; SAMNDCA00021812-21857;

                 14 SAMNDCA00022451-22522; SAMNDCA00022732-22763; SAMNDCA00022802-22812;

                 15 SAMNDCA00022901-22971; SAMNDCA00022984-23064; SAMNDCA00023137-23182;

                 16 SAMNDCA00023234-23524; SAMNDCA00023542—23584; SAMNDCA00023591-24061;

                 17 SAMNDCA00024582-24662; SAMNDCA00024749-24752; SAMNDCA00027670-27722;

                 18 SAMNDCA00198059-198067; SAMNDCA00198070-198096; SAMNDCA00198101-198274;

                 19 SAMNDCA00198289-198307; SAMNDCA00198313-198456; SAMNDCA00198754-198846;

                 20 SAMNDCA00198884-199046; SAMNDCA00199164-199222; SAMNDCA00199298-199306;

                 21 SAMNDCA00199402-199524; SAMNDCA00200425-200472; SAMNDCA00200617-200639;

                 22 SAMNDCA00200650-200658; SAMNDCA00200661-200665; SAMNDCA00200670-200676;

                 23 SAMNDCA00200686-200714; SAMNDCA00200724-200733; SAMNDCA00200737-200748;

                 24 SAMNDCA00200751-200788; SAMNDCA00200793-200806; SAMNDCA00200809-200838;

                 25 SAMNDCA00200843-200873; SAMNDCA00201264-201278.

                 26            Samsung believes that the identified prior art, standing alone, or in combination, would be

                 27 substantially similar to an ordinary observer giving such attention as a purchaser usually gives, to

                 28 Apple's design patent, rendering the patent invalid as anticipated and/or obvious. Samsung also
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                   1 believes that Apple's design patent is invalid because it is the subject of double-patenting, is

                   2 indefinite, and because the design is not ornamental. In addition, Samsung’s investigation is

                   3 ongoing and Samsung will supplement this interrogatory after a reasonable investigation and

                   4 further discovery from Apple on the basis for its infringement position. Samsung also

                   5 incorporates by reference the Declaration of Itay Sherman in Support of Samsung’s Opposition to

                   6 Apple’s Motion for a Preliminary Injunction (Dkt. No. 172).

                   7           For U.S. Patent No. D618,677, because the burden of deriving or ascertaining the answer

                   8 to this Interrogatory from the produced business records is substantially the same for Apple as for

                   9 Samsung, in accordance with Federal Rule of Civil Procedure 33(d), Samsung refers Apple to

                 10 documents produced in this action related to prior art, including the following documents:

                 11 SAMNDCA00019932-20034; SAMNDCA00020120-20303; SAMNDCA00020394-20498;

                 12 SAMNDCA00020782-20878; SAMNDCA00020900-20906; SAMNDCA00020978-20989;

                 13 SAMNDCA00021255-21313; SAMNDCA00021315-21336; SAMNDCA00021341-21471;

                 14 SAMNDCA00021479-21499; SAMNDCA00021505-21588; SAMNDCA00021593-21604;

                 15 SAMNDCA00021608-21632; SAMNDCA00021634-21805; SAMNDCA00021812-21857;

                 16 SAMNDCA00022451-22522; SAMNDCA00022732-22763; SAMNDCA00022802-22812;

                 17 SAMNDCA00022901-22971; SAMNDCA00022984-23064; SAMNDCA00023137-23182;

                 18 SAMNDCA00023234-23524; SAMNDCA00023542—23584; SAMNDCA00023591-24061;

                 19 SAMNDCA00024582-24662; SAMNDCA00024749-24752; SAMNDCA00027670-27722;

                 20 SAMNDCA00198059-198067; SAMNDCA00198070-198096; SAMNDCA00198101-198274;

                 21 SAMNDCA00198289-198307; SAMNDCA00198313-198456; SAMNDCA00198754-198846;

                 22 SAMNDCA00198884-199046; SAMNDCA00199164-199222; SAMNDCA00199298-199306;

                 23 SAMNDCA00199402-199524; SAMNDCA00200425-200472; SAMNDCA00200617-200639;

                 24 SAMNDCA00200650-200658; SAMNDCA00200661-200665; SAMNDCA00200670-200676;

                 25 SAMNDCA00200686-200714; SAMNDCA00200724-200733; SAMNDCA00200737-200748;

                 26 SAMNDCA00200751-200788; SAMNDCA00200793-200806; SAMNDCA00200809-200838;

                 27 SAMNDCA00200843-200873; SAMNDCA00201264-201278.

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                   1           Samsung believes that the identified prior art, standing alone, or in combination, would be

                   2 substantially similar to an ordinary observer giving such attention as a purchaser usually gives, to

                   3 Apple's design patent, rendering the patent invalid as anticipated and/or obvious. Samsung also

                   4 believes that Apple's design patent is invalid because it is the subject of double-patenting, is

                   5 indefinite, and because the design is not ornamental. In addition, Samsung’s investigation is

                   6 ongoing and Samsung will supplement this interrogatory after a reasonable investigation and

                   7 further discovery from Apple on the basis for its infringement position. Samsung also

                   8 incorporates by reference the Declaration of Itay Sherman in Support of Samsung’s Opposition to

                   9 Apple’s Motion for a Preliminary Injunction (Dkt. No. 172).

                 10            For U.S. Patent No. D622,270, because the burden of deriving or ascertaining the answer

                 11 to this Interrogatory from the produced business records is substantially the same for Apple as for

                 12 Samsung, in accordance with Federal Rule of Civil Procedure 33(d), Samsung refers Apple to

                 13 documents produced in this action related to prior art, including the following documents:

                 14 SAMNDCA00019932-20034; SAMNDCA00020120-20303; SAMNDCA00020394-20498;

                 15 SAMNDCA00020782-20878; SAMNDCA00020900-20906; SAMNDCA00020978-20989;

                 16 SAMNDCA00021255-21313; SAMNDCA00021315-21336; SAMNDCA00021341-21471;

                 17 SAMNDCA00021479-21499; SAMNDCA00021505-21588; SAMNDCA00021593-21604;

                 18 SAMNDCA00021608-21632; SAMNDCA00021634-21805; SAMNDCA00021812-21857;

                 19 SAMNDCA00022451-22522; SAMNDCA00022732-22763; SAMNDCA00022802-22812;

                 20 SAMNDCA00022901-22971; SAMNDCA00022984-23064; SAMNDCA00023137-23182;

                 21 SAMNDCA00023234-23524; SAMNDCA00023542—23584; SAMNDCA00023591-24061;

                 22 SAMNDCA00024582-24662; SAMNDCA00024749-24752; SAMNDCA00027670-27722;

                 23 SAMNDCA00198059-198067; SAMNDCA00198070-198096; SAMNDCA00198101-198274;

                 24 SAMNDCA00198289-198307; SAMNDCA00198313-198456; SAMNDCA00198754-198846;

                 25 SAMNDCA00198884-199046; SAMNDCA00199164-199222; SAMNDCA00199298-199306;

                 26 SAMNDCA00199402-199524; SAMNDCA00200425-200472; SAMNDCA00200617-200639;

                 27 SAMNDCA00200650-200658; SAMNDCA00200661-200665; SAMNDCA00200670-200676;

                 28 SAMNDCA00200686-200714; SAMNDCA00200724-200733; SAMNDCA00200737-200748;
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                   1 SAMNDCA00200751-200788; SAMNDCA00200793-200806; SAMNDCA00200809-200838;

                   2 SAMNDCA00200843-200873; SAMNDCA00201264-201278.

                   3           Samsung believes that the identified prior art, standing alone, or in combination, would be

                   4 substantially similar to an ordinary observer giving such attention as a purchaser usually gives, to

                   5 Apple's design patent, rendering the patent invalid as anticipated and/or obvious. Samsung also

                   6 believes that Apple's design patent is invalid because it is the subject of double-patenting, is

                   7 indefinite, and because the design is not ornamental. In addition, Samsung’s investigation is

                   8 ongoing and Samsung will supplement this interrogatory after a reasonable investigation and

                   9 further discovery from Apple on the basis for its infringement position.

                 10            For U.S. Patent No. D504,889, in accordance with Federal Rule of Civil Procedure 33(d),

                 11 Samsung refers Apple to documents produced in this action related to prior art, including the

                 12 following documents, because the burden of deriving or ascertaining the answer to this

                 13 Interrogatory from the produced business records is substantially the same for Apple as for

                 14 Samsung: SAMNDCA00019932-19943; SAMNDCA00020120-20247; SAMNDCA00020394-

                 15 20498; SAMNDCA00020903-20906; SAMNDCA00020978-20989; SAMNDCA00021281-

                 16 21313; SAMNDCA00021330-21336; SAMNDCA00021341-21436; SAMNDCA00021479-

                 17 21485; SAMNDCA00021505-21588; SAMNDCA00021593-21596; SAMNDCA00021800-

                 18 21805; SAMNDCA00022451-22506; SAMNDCA00022514-22520; SAMNDCA00022732-

                 19 22763; SAMNDCA00022802-22812; SAMNDCA00022901-22910; SAMNDCA00022984-

                 20 23047; SAMNDCA00023234-23265; SAMNDCA00023520-23524; SAMNDCA00023591-

                 21 23801; SAMNDCA00024582-24629; SAMNDCA00027686-27690; SAMNDCA00027692-

                 22 27708; SAMNDCA00198059; SAMNDCA00198070-198076; SAMNDCA00198089-198096;

                 23 SAMNDCA00198109-198115; SAMNDCA00198134-198142; SAMNDCA00198245-198267;

                 24 SAMNDCA00198285-198289; SAMNDCA00198317-198318; SAMNDCA00198322;

                 25 SAMNDCA00198333-198336; SAMNDCA00198343-198344; SAMNDCA00198754-198808;

                 26 SAMNDCA00198884-198918; SAMNDCA00199164-199189; SAMNDCA00199204-199209;

                 27 SAMNDCA00199402-199411; SAMNDCA00199415-199419; SAMNDCA00199426-199432;

                 28 SAMNDCA00199439-199441; SAMNDCA00199445-199447; SAMNDCA00199454-199524;
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                   1 SAMNDCA00200617-200639; SAMNDCA00200650-200658; SAMNDCA00200661-200665;

                   2 SAMNDCA00200670-200676; SAMNDCA00200686-200714; SAMNDCA00200724-200733;

                   3 SAMNDCA00200737-200740; SAMNDCA00201264-201271.

                   4           Samsung believes that the identified prior art, standing alone, or in combination, would be

                   5 substantially similar to an ordinary observer giving such attention as a purchaser usually gives, to

                   6 Apple's design patent, rendering the patent invalid as anticipated and/or obvious. Samsung also

                   7 believes that Apple's design patent is invalid because it is the subject of double-patenting, is

                   8 indefinite, and because the design is not ornamental. In addition, Samsung’s investigation is

                   9 ongoing and Samsung will supplement this interrogatory after a reasonable investigation and

                 10 further discovery from Apple on the basis for its infringement position. Samsung also

                 11 incorporates by reference the Declaration of Roger Fidler and the Declaration of Itay Sherman in

                 12 Support of Samsung’s Opposition to Apple’s Motion for a Preliminary Injunction (Dkt. Nos. 166,

                 13 172).

                 14

                 15 FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 12 (3/19/12):

                 16            Samsung objects to this interrogatory as vague and ambiguous. Samsung further objects to
                 17 this interrogatory to the extent that it seeks to elicit information subject to and protected by the

                 18 attorney-client privilege, the attorney work-product doctrine, the joint defense privilege, the

                 19 common interest doctrine, and/or any other applicable privilege or immunity. Samsung further

                 20 objects to this interrogatory as premature to the extent it requests information regarding

                 21 Samsung’s invalidity contentions before expert reports have been submitted. Samsung further

                 22 objects to this interrogatory because it contains multiple subparts such that each should count as a

                 23 separate interrogatory.

                 24            Subject to the foregoing general and specific objections, Samsung responds as follows:
                 25

                 26 For U.S. Patent No. D593,087

                 27               Invalidity Under 35 U.S.C. § 102 or 103

                 28            Samsung identifies the following prior art that anticipates and/or renders obvious the
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                   1 D'087 patent either expressly or inherently as understood by a person having ordinary skill in the

                   2 art at the time of the alleged invention, either alone or in combination with other references

                   3
                         identified below. These references anticipate and/or render obvious one or more embodiments of
                   4
                         the D’087 patent. These references are prior art under at least 35 U.S.C. §§ 102(a), (b), (e), (g)
                   5
                         and/or 103.
                   6

                   7            Without waiving any right to address additional design characteristics of this prior art that

                   8 anticipate and/or render obvious the design claimed in D'087, and without waiving any right to

                   9
                         show that the design claimed in D'087 is indefinite, the prior art shown below shares at least the
                 10
                         design characteristics identified below with those that Apple has claimed in D'087:
                 11

                 12 Prior Art Design Elements            Disclosure Rendering the Claim Unpatentable
                                                         1.     Bluebird Pidion BM-200 — (released November 2005;
                 13 •        Rounded Corners                    SAMNDCA00326344 - SAMNDCA00326346)
                    •        Lack of Significant
                 14          Ornamentation
                    •        Rectangular Shape
                 15
                    •        Flat Continuous Surface
                 16 •        Reflective or
                             Transparent Surface
                 17 •        Horizontal Speaker Slot
                    •        Speaker Slot Located
                 18
                             Near Top of Device
                 19 •        Display Screen
                             Covering Substantial
                 20          Portion of Front Face
                         •   Display Screen in Center
                 21          of Device
                 22 •        Narrow Borders on
                             Sides of ScreenBroader
                 23 •        Borders Above and
                             Below Screen
                 24 •        Uniform bezel
                 25          surrounding front face

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                   1                                    2. Korean Patent 0398307 — (Issued Nov. 15, 2005;
                     •       Rounded Corners               SAMNDCA00282113 - SAMNDCA00282120)
                   2 •       Lack of Significant
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Horizontal Speaker Slot
                   5 •       Speaker Slot Located
                             Near Top of Device
                   6
                         •   Reflective or
                   7         Transparent Surface
                         •   Display Screen
                   8         Covering Substantial
                             Portion of Front Face
                   9
                         •   Display Screen in Center
                 10          of Device
                         •   Narrow Borders on
                 11          Sides of Screen
                         •   Broader Borders Above
                 12          and Below Screen
                 13 •        Uniform bezel
                             surrounding front face
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                                                        3.   United States Patent D504,889 — (filed March 17, 2004;
                 19 •        Rounded Corners                 SAMNDCA00200769—SAMNDCA00200773)
                    •        Lack of Significant
                 20          Ornamentation
                    •        Rectangular Shape
                 21
                    •        Alleged by Apple to
                 22          have flat Continuous
                             Surface
                 23 •        Alleged by Apple to
                             have reflective or
                 24          Transparent Surface
                 25 •        Display Screen
                             Covering Substantial
                 26          Portion of Front Face
                         •   Display Screen in Center
                 27          of Device
                 28
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                   1                                    4.   LG Prada — (Images available to public by December
                     •       Rounded Corners                 2006; SAMNDCA00326458 - SAMNDCA00326461)
                   2 •       Lack of Significant
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Reflective or
                   5         Transparent Surface
                     •       Horizontal Speaker Slot
                   6
                     •       Speaker Slot Located
                   7         Near Top of Device
                     •       Display Screen
                   8         Covering Substantial
                             Portion of Front Face
                   9
                         •   Display Screen in Center
                 10          of Device
                         •   Narrow Borders on
                 11          Sides of Screen
                         •   Broader Borders Above
                 12          and Below Screen
                 13 •        Uniform bezel
                             surrounding front face
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                   1                                    5.   Sharp Japanese Registration – JP 1241638 — (Issued
                     •       Rounded Corners                 June 6, 2005; SAMNDCA00255247—
                   2 •       Lack of Significant             SAMNDCA00255260)
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Horizontal Speaker Slot
                     •       Speaker Slot Located
                   5         Near Top of Device
                     •       Display Screen
                   6
                             Covering Substantial
                   7         Portion of Front Face
                         •   Display Screen in Center
                   8         of Device
                         •   Narrow Borders on
                   9
                             Sides of Screen
                 10 •        Broader Borders Above
                             and Below Screen
                 11 •        Uniform bezel
                             surrounding front face
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                                                        6.   LG Chocolate (LG KG800) — (Released March 2006;
                 18 •        Rounded Corners                 SAMNDCA00326329 - SAMNDCA00326331;
                 19 •        Lack of Significant             SAMNDCA00326462)
                             Ornamentation
                 20 •        Rectangular Shape
                    •        Flat Continuous Surface
                 21 •        Reflective or
                 22          Transparent Surface
                    •        Horizontal Speaker Slot
                 23 •        Speaker Slot Located
                             Near Top of Device
                 24 •        Display Screen
                 25          Covering Substantial
                             Portion of Front Face
                 26 •        Narrow Borders on
                             Sides of Screen
                 27 •        Broader Borders Above
                             and Below Screen
                 28
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                   1 •       Uniform bezel
                             surrounding front face
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                   9                                   7.   United States Patent, D536,691 — (Filed Mar. 13, 2006;
                    •        Rounded Corners                Issued Feb. 13, 2007; SAMNDCA00200883—
                 10 •        Lack of Significant            SAMNDCA00200888)
                 11          Ornamentation
                    •        Rectangular Shape
                 12 •        Flat Continuous Surface
                    •        Reflective or
                 13          Transparent Surface
                 14 •        Horizontal Speaker Slot
                    •        Speaker Slot Located
                 15          Near Top of Device
                    •        Display Screen
                 16          Covering Substantial
                 17          Portion of Front Face
                         •   Narrow Borders on
                 18          Sides of Screen
                         •   Broader Borders Above
                 19          and Below Screen
                         •   Uniform bezel
                 20
                             surrounding front face
                 21

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                   1                                    8.   Japanese Patent JP 1241383 — (Issued June 2005;
                     •       Rounded Corners                 SAMNDCA00255283—SAMNDCA00255295)
                   2 •       Lack of Significant
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Reflective or
                   5         Transparent Surface
                     •       Display Screen
                   6
                             Covering Substantial
                   7         Portion of Front Face
                         •   Display Screen in Center
                   8         of Device
                         •   Narrow Borders on
                   9
                             Sides of Screen
                 10 •        Broader Borders Above
                             and Below Screen
                 11 •        Uniform bezel
                             surrounding front face
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                   1                                    9.   Japanese Design Patent JP 1009317 — (Issued Feb. 20,
                     •       Rounded Corners                 1998; SAMNDCA00255278—SAMNDCA00255282)
                   2 •       Lack of Significant
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Horizontal Speaker Slot
                   5 •       Speaker Slot Located
                             Near shorter edge of
                   6
                             Device
                   7 •       Display Screen
                             Covering Substantial
                   8         Portion of Front Face
                         •   Display Screen in Center
                   9
                             of Device
                 10 •        Narrow Borders on two
                             opposing sides of the
                 11          screen
                         •   Broader Borders on two
                 12          other opposing sides of
                 13          screen

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                   1                                    10.   Samsung Korean Patent XX-XXXXXXX; Application KR
                     •       Rounded Corners                  30-2006-0050769 — (Applied for December 2006; patent
                   2 •       Lack of Significant              issued Aug. 2007; SAMNDCA00255357—
                             Ornamentation                    SAMNDCA00255365)
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Reflective or
                   5         Transparent Surface
                     •       Horizontal Speaker Slot
                   6
                     •       Speaker Slot Located
                   7         Near Top of Device
                     •       Display Screen
                   8         Covering Substantial
                             Portion of Front Face
                   9
                         •   Display Screen in Center
                 10          of Device
                         •   Narrow Borders on
                 11          Sides of Screen
                         •   Broader Borders Above
                 12          and Below Screen
                 13 •        Bezel surrounding front
                             face
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                   1                                    11.   Japanese Design Patent JP-S-887388 — (Issued Dec.
                     •       Rounded Corners                  21, 1993; SAMNDCA00255215—SAMNDCA00255221)
                   2 •       Lack of Significant
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Display Screen
                             Covering Substantial
                   5         Portion of Front Face
                         •   Display Screen in Center
                   6
                             of Device
                   7

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                 14                                     12.   Japanese Design Patent JP-S-1142127 — (Issued May
                    •        Rounded Corners                  27, 2002; SAMNDCA00255229—SAMNDCA00255246)
                 15 •        Lack of Significant
                             Ornamentation
                 16 •        Rectangular Shape
                    •        Display Screen
                 17
                             Covering Substantial
                 18          Portion of Front Face
                         •   Display Screen in Center
                 19          of Device
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                                                        13.   United States Design Patent D497,364 — (Filed Nov.
                   8 •       Rounded Corners                  27, 2002, Issued Oct. 19, 2004; SAMNDCA00326308 -
                     •       Lack of Significant              SAMNDCA00326314)
                   9
                             Ornamentation
                 10 •        Rectangular Shape
                    •        Flat Continuous Surface
                 11 •        Reflective or
                             Transparent Surface
                 12
                         •   Display Screen
                 13          Covering Substantial
                             Portion of Front Face
                 14 •        Display Screen in Center
                             of Device
                 15
                         •   Uniform bezel
                 16          surrounding front face

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                 14                                   14.   United States Patent D548,747 — (filed August 24,
                    •       Rounded Corners                 2005; SAMNDCA00200936—SAMNDCA00200940)
                 15 •       Lack of Significant
                            Ornamentation
                 16 •       Rectangular Shape
                    •       Flat Continuous Surface
                 17
                    •       Reflective or
                 18         Transparent Surface

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                 18                                     15.   iRiver U10 — (Released October
                    •        Rounded Corners                  2005;SAMNDCA00326325 - SAMNDCA00326328)
                 19 •        Lack of Significant
                             Ornamentation
                 20 •        Rectangular Shape
                 21 •        Flat Continuous Surface
                    •        Reflective or
                 22          Transparent Surface
                    •        Display Screen
                 23          Covering Substantial
                             Portion of Front Face
                 24
                         •   Display Screen in Center
                 25          of Device
                         •   Narrow Borders on Two
                 26          Opposing Sides of
                             Screen
                 27
                         •   Broader Borders on the
                 28          Remaining Two Sides of
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                                           SUBJECT TO PROTECTIVE ORDER
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                   1         the Screen
                         •   Uniform bezel
                   2         surrounding front face
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                                                        16.   Nokia N92 — (Released 2005; SAMNDCA00326338 -
                 12 •        Rounded Corners                  SAMNDCA00326339)
                    •        Lack of Significant
                 13          Ornamentation
                 14 •        Rectangular Shape
                    •        Flat Continuous Surface
                 15 •        Reflective or
                             Transparent Surface
                 16 •        Horizontal Speaker Slot
                 17 •        Speaker Slot Located
                             Near Top of Device
                 18 •        Display Screen
                             Covering Substantial
                 19          Portion of Front Face
                 20 •        Display Screen in Center
                             of Device
                 21 •        Narrow Borders on
                             Sides of Screen
                 22 •        Broader Borders Above
                             and Below Screen
                 23
                         •   Uniform bezel
                 24          surrounding front face

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                   1                                   17.   Olympus m:robe MR-100 — (Released 2005;
                     •       Rounded Corners                 SAMNDCA00326463 - SAMNDCA00326466)
                   2 •       Lack of Significant
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Reflective or
                   5         Transparent Surface
                     •       Display Screen
                   6
                     •       Uniform bezel
                   7         surrounding front face

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                                                       18.   Japanese Design Patent 1204221 — (Issued May 10,
                 22 •        Rounded Corners                 2004; - SAMNDCA00256066—SAMNDCA00256079)
                    •        Lack of Ornamentation
                 23
                    •        Rectangular Shape
                 24 •        Flat Continuous Surface
                    •        Horizontal Ear Speaker
                 25          Slot
                    •        Ear Speaker Slot
                 26          Located Near Top of
                 27          Device
                         •   Display Screen
                 28          Covering Substantial
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                                           SUBJECT TO PROTECTIVE ORDER
                         CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                   1         Portion of Front Face
                         •   Display Screen in Center
                   2         of Device
                   3 •       Narrow Borders on
                             Sides of Screen
                   4 •       Broader Borders Above
                             and Below Screen
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                   1                                    19.   Nokia Design Contest Phone by Ricardo Villas-Boas —
                     •       Rounded Corners                  (Publicly displayed online in 2004; SAMNDCA00326336
                   2 •       Lack of significant              - SAMNDCA00326337; SAMNDCA00326380 -
                             Ornamentation                    SAMNDCA00326385)
                   3
                     •       Flat Continuous Surface
                   4 •       Ear Speaker Opening
                             Near Top of Device
                   5 •       Display Screen
                             Covering Substantial
                   6
                             Portion of Front Face
                   7 •       Display Screen in Center
                             of Device
                   8 •       Narrow Borders on
                             Sides of Screen
                   9
                         •   Broader Borders Above
                 10          and Below Screen
                         •   Uniform bezel
                 11          surrounding front face
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                   1                                    20.   Korean Design Patent KR XX-XXXXXXX — (Issued July
                     •       Rounded Corners                  2006; SAMNDCA00255321—SAMNDCA00255329)
                   2 •       Lack of Ornamentation
                   3 •       Rectangular Shape
                     •       Flat Continuous Surface
                   4 •       Reflective or
                             Transparent Surface
                   5 •       Horizontal Speaker Slot
                   6 •       Speaker Slot Located
                             Near Top of Device
                   7 •       Display Screen
                             Covering Substantial
                   8         Portion of Front Face
                         •   Display Screen in Center
                   9
                             of Device
                 10 •        Narrow Borders on
                             Sides of Screen
                 11 •        Broader Borders Above
                             and Below Screen
                 12
                         •   Uniform bezel
                 13          surrounding front face

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                   1                                  21.   U.S. Design Patent No. D514,590 (Filed November 1,
                     •      Rounded Corners                 2004; Issued February 7, 2006; SAMNDC00023918-
                   2 •      Lack of Ornamentation           00023921)
                   3 •      Rectangular Shape
                     •      Flat Continuous Surface
                   4 •      Reflective or
                            Transparent Surface
                   5 •      Horizontal Speaker Slot
                   6 •      Speaker Slot Located
                            Near Top of Device
                   7 •      Display Screen
                            Covering Substantial
                   8        Portion of Front Face
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                         CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                   1                                    22.   Olympus MR500i (Publicly disclosed in 2005;
                     •       Rounded Corners                  SAMNDCA00365586-00365589)
                   2 •       Lack of Ornamentation
                   3 •       Rectangular Shape
                     •       Flat Continuous Surface
                   4 •       Reflective or
                             Transparent Surface
                   5 •       Display Screen
                             Covering Substantial
                   6
                             Portion of Front Face
                   7 •       Display Screen in Center
                             of Device
                   8 •       Narrow Borders on two
                             opposing sides of the
                   9
                             screen
                 10 •        Broader Borders on two
                             other opposing sides of
                 11          screen
                         •   Uniform bezel
                 12          surrounding front face
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                   1                                    23.   European Union RCD 000569157-0005 (Registered
                     •       Rounded Corners                  August 1, 2006; Published September 5, 2006;
                   2 •       Lack of Ornamentation            SAMNDCA00021315-00021319)
                   3 •       Rectangular Shape
                     •       Flat Continuous Surface
                   4 •       Reflective or
                             Transparent Surface
                   5 •       Horizontal Speaker Slot
                   6 •       Speaker Slot Located
                             Near Top of Device
                   7 •       Display Screen
                             Covering Substantial
                   8         Portion of Front Face
                         •   Display Screen in Center
                   9
                             of Device
                 10 •        Narrow Borders on
                             Sides of Screen
                 11 •        Broader Borders Above
                             and Below Screen
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                   1                                   24.   U.S. Design Patent No. 534,516 (Filed March 9, 2006;
                     •       Rounded Corners                 Issued January 2, 2007; SAMNDCA00255377-255387)
                   2 •       Lack of Ornamentation
                   3 •       Rectangular Shape
                     •       Flat Continuous Surface
                   4 •       Reflective or
                             Transparent Surface
                   5 •       Horizontal Speaker Slot
                   6 •       Speaker Slot Located
                             Near Top of Device
                   7 •       Display Screen
                             Covering Substantial
                   8         Portion of Front Face
                         •   Narrow Borders on
                   9
                             Sides of Screen
                 10 •        Broader Borders Above
                             and Below Screen
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                   1 •      Rounded Corners           25.   Samsung Yepp YP-K3 MP3 Player (Publicly disclosed
                     •      Lack of Ornamentation           in 2006; SAMNDCA00326549-00326557)
                   2
                     •      Rectangular Shape
                   3 •      Flat Continuous Surface
                     •      Reflective or
                   4        Transparent Surface
                     •      Bezel surrounding front
                   5        face
                   6

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                   1                                  26.   Sony Ericsson Walkman Phone W950 (Images publicly
                     •      Rounded Corners                 available by February 2006)
                   2 •      Lack of Ornamentation
                   3 •      Rectangular Shape
                     •      Horizontal Speaker Slot
                   4 •      Speaker Slot Located
                            Near Top of Device
                   5 •      Display Screen
                            Covering Substantial
                   6
                            Portion of Front Face
                   7 •      Narrow Borders on
                            Sides of Screen
                   8 •      Broader Borders Above
                            and Below Screen
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                   1                                   27.   United States Design Patent D500,037 — (Filed
                     •       Rounded Corners                 September 3, 2002, Issued December 21, 2004;
                   2 •       Lack of Significant             SAMNDCA00027716 -0027722)
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Reflective or
                   5         Transparent Surface
                     •       Display Screen
                   6
                             Covering Substantial
                   7         Portion of Front Face
                         •   Thin rim surrounding
                   8         the front surface
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                   1                                    28.   U.S. Patent No. 6,919,678 — (Filed November 20, 2002;
                     •       Rounded Corners                  Issued July 19, 2005; SAMNDCA00354855—
                   2 •       Lack of Significant              SAMNDCA00354872)
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Display Screen
                   5         Covering Substantial
                             Portion of Front Face
                   6
                         •   Display Screen in Center
                   7         of Device
                         •   Thin rim surrounding
                   8         the front surface
                         •   Reflective or
                   9
                             Transparent Surface
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                   1 •      Rounded Corners           29.   JPD1247215 — (Filed in 2004)
                     •      Lack of Ornamentation
                   2
                     •      Rectangular Shape
                   3 •      Horizontal Speaker Slot
                     •      Speaker Slot Located
                   4        Near Top of Device
                     •      Narrow Borders on
                   5        Sides of Screen
                   6 •      Broader Borders Above
                            and Below Screen
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                   1 •      Rounded Corners           30.   JPD1263649 — (Filed in 2005)
                     •      Lack of Ornamentation
                   2
                     •      Rectangular Shape
                   3 •      Horizontal Speaker Slot
                     •      Speaker Slot Located
                   4        Near Top of Device
                     •      Narrow Borders on
                   5        Sides of Screen
                   6 •      Broader Borders Above
                            and Below Screen
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                   1 •      Rounded Corners           31.   The ‘black box’ – concept design from electronics
                     •      Lack of Ornamentation           giant BenQ winning the iF2006 awards (June 2006)
                   2
                     •      Rectangular Shape
                   3 •      Flat Continuous Surface
                     •      Transparent or
                   4        Reflective Surface
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                   1 •       Rounded Corners
                     •       Lack of Significant        32.   U.S. Design Patent No. D560,192 (Filed: December 22,
                   2         Ornamentation                    2006; Issued: January 22, 2008)
                   3 •       Rectangular Shape
                     •       Flat Continuous Surface
                   4 •       Reflective or
                             Transparent Surface
                   5 •       Horizontal Speaker Slot
                   6 •       Speaker Slot Located
                             Near Top of Device
                   7 •       Display Screen
                             Covering Substantial
                   8         Portion of Front Face
                   9 •       Display Screen in Center
                             of Device
                 10 •        Narrow Borders on
                             Sides of Screen
                 11 •        Broader Borders Above
                             and Below Screen
                 12
                         •   Bezel surrounding front
                 13          face

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                   1            Samsung believes that the identified prior art, standing alone, or in combination, would

                   2 appear to an ordinary observer — giving such attention as a purchaser usually gives — to be

                   3 substantially the same as the design shown in D'087, rendering that patent invalid as anticipated

                   4 and/or obvious.

                   5            Without waiving any right to address additional design characteristics of this prior art that

                   6 anticipate and/or render obvious the design claimed in D'087, at least the prior art references

                   7 numbered 4, 5, 18 and 23 in the chart above contain all of the claimed elements of the D’087 and,

                   8 therefore, anticipate the D’087. Furthermore, any of numbers 3, 8, 13, 15, 19, 21, 22, 25, 27 and

                   9 28 could serve as primary references that would have been obvious to one of ordinary skill in the

                 10 art to combine with the shape and position of the speaker slot of numbers 4, 5, 18 or 23.

                 11 Additionally, any of numbers 1, 2, 6, 7, 9, 11, 12, 14, 16, 17, 20, 24, 26, 29 and 30 could serve as

                 12 primary references that it would have been obvious to one of ordinary skill in the art to combine

                 13 with the proportions of the display or speaker slots of numbers 4, 5, 18 and 23. It also would have

                 14 been obvious to one of ordinary skill in the art to combine the bezel of numbers 1, 2, 6, 7, 8, 10,

                 15 13, 15, 16, 17, 19, 20, 22, 25 or 32 with any of numbers 4, 5, 18 or 23.

                 16
                         Bates Ranges of Prior Art Produced by Samsung
                 17
                                Samsung also incorporates by reference all prior art that has been produced and/or
                 18
                         disclosed by Samsung, including the documents listed in the Bates Ranges below. These
                 19

                 20 incorporated pieces of prior art further show that the design claimed by the D’087 patent is

                 21 obvious and anticipated:

                 22
                         SAMNDCA00019932-20034; SAMNDCA00020120-20303; SAMNDCA00020394-20498;
                 23
                         SAMNDCA00020782-20878; SAMNDCA00020900-20906; SAMNDCA00020978-20989;
                 24

                 25 SAMNDCA00021255-21313; SAMNDCA00021315-21336; SAMNDCA00021341-21471;

                 26 SAMNDCA00021479-21499; SAMNDCA00021505-21588; SAMNDCA00021593-21604;

                 27 SAMNDCA00021608-21632; SAMNDCA00021634-21805; SAMNDCA00021812-21857;

                 28
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                   1 SAMNDCA00022451-22522; SAMNDCA00022732-22763; SAMNDCA00022802-22812;

                   2 SAMNDCA00022901-22971; SAMNDCA00022984-23064; SAMNDCA00023137-23182;

                   3
                         SAMNDCA00023234-23524; SAMNDCA00023542—23584; SAMNDCA00023591-24061;
                   4
                         SAMNDCA00024582-24662; SAMNDCA00024749-24752; SAMNDCA00027670-27722;
                   5
                         SAMNDCA00198059-198067; SAMNDCA00198070-198096; SAMNDCA00198101-198274;
                   6
                         SAMNDCA00198289-198307; SAMNDCA00198313-198456; SAMNDCA00198754-198846;
                   7

                   8 SAMNDCA00198884-199046; SAMNDCA00199164-199222; SAMNDCA00199298-199306;

                   9 SAMNDCA00199402-199524; SAMNDCA00200425-200472; SAMNDCA00200617-200639;

                 10 SAMNDCA00200650-200658; SAMNDCA00200661-200665; SAMNDCA00200670-200676;

                 11
                         SAMNDCA00200686-200714; SAMNDCA00200724-200733; SAMNDCA00200737-200748;
                 12
                         SAMNDCA00200751-200788; SAMNDCA00200793-200806; SAMNDCA00200809-200838;
                 13
                         SAMNDCA00200843-200873; SAMNDCA00201264-201278; SAMNDCA00255026 –
                 14

                 15 SAMNDCA00256183; SAMNDCA00282113 - SAMNDCA00282120; SAMNDCA00326302 –

                 16 SAMNDCA00326557; SAMNDCA00359127-00365840; SAMNDCA00370485-00370527;

                 17 SAMNDCA00373535-374040.

                 18

                 19             Invalidity Due to Functionality
                 20
                                The D’087 patent is also invalid because it is functional and not ornamental. See Lee v.
                 21
                         Dayton-Hudson Corp., 838 F.2d 1186, 1188 (Fed. Cir. 1988). Apple's principal designer,
                 22
                         Jonathan Ive, has even said about the iPhone that “everything defers to the display. A lot of what
                 23

                 24 we seem to be doing in a product like that is actually getting design out of the way. And I think

                 25 when forms develop with that sort of reason, and they’re not just arbitrary shapes, it feels almost

                 26 inevitable. It feels almost undesigned.” Jonathan Ive, Objectified (2009).       Because the display is
                 27
                         the primary means of user interaction with the device, having “everything defer[] to the display”
                 28
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                   1 serves a highly functional purpose, which would be diminished by designs with additional design.

                   2
                                In addition to the overall design of D’087 being non-ornamental, and therefore functional,
                   3
                         individual aspects of the design are also functional and render its scope either invalid or indefinite.
                   4
                         For example:
                   5

                   6                •   Front Surface Flatness and Transparency – The introduction of touch
                   7
                                        technology allowed the removal of keypads and otherwise allowed for the
                   8
                                        reduction in the number of surface mounted buttons. Early commercial smartphone
                   9
                                        models used resistive touch technology. Resistive touch technology dictated that
                 10
                                        the active touch layer would be exposed externally so that the user could apply
                 11

                 12                     pressure to it. Because this active layer is not resistant to scratches and since it is

                 13                     activated by pressure, a bezel elevated from its surface typically was used to
                 14                     provide protection from scratches and false triggering. Unlike resistive touch
                 15
                                        technology, capacitive technology allows placement of the active surface below an
                 16
                                        externally hardened surface, such as reinforced glass or plastic. The screen
                 17
                                        therefore could be made flush but still protected against scratches, since an elevated
                 18

                 19                     surround was no longer required to protect the exposed touch layer of the screen.

                 20                     The underlying LCD displays have a flat surface and manufacturing a contoured

                 21                     glass surface to place over the LCD touch screen is a time-consuming,
                 22                     technologically-challenging and more expensive than a primarily smooth front
                 23
                                        surface. The choice of a flat cover is the natural and economical choice. Once
                 24
                                        touch screentechnology reached the maturity level where capacitive touch screens
                 25
                                        could be made in the right size and form factor for mobile electronic devices, at a
                 26

                 27                     commercially palatable price point, the concept of a continuous flat, transparent

                 28                     surface emerged almost simultaneously from multiple companies. Any cover over
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                   1                 a display screen must be transparent, otherwise the display screen would have no

                   2                 purpose. Any continuous flat surface on the front of the phone must necessarily be
                   3
                                     transparent. Also, it is functional to have the flat surface be continuous and to
                   4
                                     extend all the way from side to side and top to bottom because having a rim or edge
                   5
                                     around the touch surface creates limitations on unimpeded access to the touch
                   6
                                     surface, the amount of surface that is accessible, and other issues.
                   7

                   8             •   Rounded Corners — The rounded corners of the claimed rectangular area of the

                   9                 front face of the device are a natural consequence of the rounded outside corners of
                 10                  the device. Almost all designs of portable consumer devices use some degree of
                 11
                                     rounding on corners of devices. Rounded corners are functional because of various
                 12
                                     human factors and ergonomics issues. Rounded corners also make a portable
                 13
                                     electronic device more durable and easier to manufacture. Pointed or sharp corners
                 14

                 15                  on designs are mechanical weak points and they may bend, snag, or break with the

                 16                  application of relatively little force. Rounded corners, on the other hand, are more

                 17                  able to absorb impact and less likely to break. It is also easier and more reliable to
                 18
                                     manufacture rounded corners with smooth and accurate finishes than it is to create
                 19
                                     sharp corners that are clean, accurate, and aesthetic. Users may also find sharp
                 20
                                     corners uncomfortable to hold by their faces or against their palms.
                 21

                 22              •   Centered Rectangular Screen — Rectangular screens are virtually mandatory for

                 23                  any use of a display screen. That is not proprietary to Apple, but rather in accord

                 24                  with the longstanding use of rectangular shapes as the format for viewing any
                 25                  media--movies, television, magazines, newspapers, books, letters, legal briefs, or
                 26
                                     clay tablets. Available display screen options that might exist other than an
                 27
                                     elongated rectangle would be less efficient for use in a modern mobile electronic
                 28
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                   1                 device and would be considerably more expensive. The rectangular element with

                   2                 square corners is definitely dictated by the function of the component it depicts and
                   3
                                     the type of device disclosed.
                   4
                                 •   Inset display screen with narrow borders on the sides and wider borders on
                   5
                                     the top and bottom of the front surface – The display screen on a phone needs to
                   6

                   7                 be inset; it cannot protrude or be directly exposed as part of the surface without

                   8                 increasing the risk of damage to the screen. Nor was it technologically feasible for

                   9                 a display to extend from edge to edge on the front of a device in 2006. Display
                 10                  screens then, and now, include active components and wiring and require a
                 11
                                     controller to activate the display. These wires force the actual size of the display
                 12
                                     glass to be slightly larger than the active viewable area. The controller for the
                 13
                                     display may be located either on the glass substrate of the display (COG – Chip on
                 14

                 15                  Glass) or on a flexible cable extending from the display (COF – chip on flex). In

                 16                  both cases this yields additional length on top or bottom of screen that needs to be

                 17                  reserved for the controller functionality, as well as some space on the sides to offset
                 18
                                     the display screen from other components of the edge of the device. Standard
                 19
                                     display screens are made of a relatively fragile material and needs to be protected.
                 20
                                     A mobile handset needs to tolerate, to some extent, drops and casual hits. To avoid
                 21
                                     having the display absorb the energy of such impacts directly, it is a common
                 22

                 23                  practice to maintain a border between the glass of the display screen and the

                 24                  exterior surface of the handset. Narrow borders are preferable to wide borders on
                 25                  the long sides of a screen because significantly widening the borders would reduce
                 26
                                     the width of the display screen or require a wider product, which could be awkward
                 27
                                     to hold in the hand. Handsets are often designed to be operated using a single hand,
                 28
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                   1                 with the thumb being able to press the display/keys, while the device is held on the

                   2                 same hand. This requirement, considering the standard range for human hands,
                   3
                                     forces designs to have limited width. In addition, having no side border would
                   4
                                     increase the likelihood that the screen would be damaged if it bumped against
                   5
                                     anything, and that the display screen would be accidentally activated when the
                   6
                                     phone is held. The wider borders on the top and bottom of the display screen are a
                   7

                   8                 practical solution to placing earpiece and navigational buttons on the front surface

                   9                 without having to drill through or otherwise interrupt the display screen. In
                 10                  addition to facilitating the placement of the earpiece slots and navigation buttons,
                 11
                                     the wider borders provide functional space for other components such as the
                 12
                                     antenna. The display screen operates using high frequency signals, extending over
                 13
                                     wires which have considerable length. As a result, the display tends to emit
                 14

                 15                  radiated noise that may interfere with the operation of other components. It is a

                 16                  common practice to cover the display with a metal shield on its back side. A

                 17                  mobile communication device design also must include an antenna to enable its
                 18                  cellular radio operation. The existence of large metal objects in the area of the
                 19
                                     antenna influences and distorts its radiation pattern. It is therefore a common
                 20
                                     practice to keep the antenna’s area from overlapping with the metal shielded area of
                 21
                                     the display. Therefore, the antenna is commonly placed behind one of these larger
                 22

                 23                  borders.

                 24              •   Earpiece with horizontally-oriented elongated ellipse or lozenge-shape
                 25                  centered over the display screen – The use of an earpiece is necessary on a
                 26
                                     smartphone to allow the user to listen to a conversation privately without the use of
                 27
                                     a separate headphone or ear bud connection. Ever since mobile phones were
                 28
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                   1                 invented, the most natural place to put the earpiece of the phone was on the upper

                   2                 portion of the handheld part of the phone, near the ear—on the opposite end from
                   3
                                     the microphone, which is customarily placed on the end closest to the user’s mouth.
                   4
                                     Centering the earpiece on the vertical axis is required as it allows users to
                   5
                                     conveniently align the phone to their ears, and hold the phone in the same
                   6
                                     alignment relative to the head irrespective of whether it is held in the right or left
                   7

                   8                 hand. Placing the earpiece anywhere other than on the upper portion of the phone,

                   9                 such as on the back or side of the phone, would be a highly unusual choice that
                 10                  would force users to hold the smartphone in an unnatural position when using the
                 11
                                     phone feature. Horizontal earpiece slots (as opposed to vertical slots) maximize the
                 12
                                     area that can be devoted to a speaker without impinging on the display screen size.
                 13
                                     The slot shape, with its narrow height, also serves to protect the mesh covering the
                 14

                 15                  speaker below it by not having a more expansive area, such as a circle or square,

                 16                  which might allow the mesh to be more easily punctured, torn, or obstructed by dirt

                 17                  or dust. The slot shape also increases the durability of the smartphone surface by
                 18                  not weakening it with a relatively large expanse of less rigid material. In addition,
                 19
                                     having rounded edges increases the ease of manufacturing by allowing the slot to
                 20
                                     be created by a drill (the slots created by which are naturally rounded on the edges
                 21
                                     due to the spinning of the round drill bit).
                 22

                 23              •   Bezel – A bezel in a mobile phone handset is a frame that surrounds the front face

                 24                  of the device to provide structural support and to join and hold together the front
                 25                  and back pieces of the device. A bezel also can protect the display screen and
                 26
                                     cover glass or plastic from side impacts and drops, as Apple acknowledged in its
                 27
                                     bezel patent: “By their very nature, portable electronic devices are carried around
                 28
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                   1                    and subject to impacts and inadvertent blows to which static electronic devices are

                   2                    not subject. To protect the electronic systems of these portable devices … there is
                   3
                                        a need for a hard, easily manufactured and aesthetically pleasing case for portable
                   4
                                        electronic devices.” US Patent 7,688,574 at 1:8-19.
                   5
                                Moreover, Apple sought and obtained a number of utility patents on the same elements
                   6
                         present in the D'087 design patent. See, e.g., United States Patent No. 7,688,574
                   7

                   8 (SAMNDCA00365600-612); US Patent Publication 2009/0247244 A1 (APLNDC0003037770-

                   9 781); United States Patent No. 7,902,474. These utility patents render the design patent invalid

                 10 because they confirm that the elements shown in the D'087 design are functional. See PHG

                 11
                         Techs., LLC v. St. John Cos., 469 F.3d 1361, 1366 (Fed. Cir. 2006) (noting that courts should
                 12
                         consider "whether there are any concomitant utility patents" when ruling on invalidity due to
                 13
                         functionality); see also Power Controls Corp. v. Hybrinetics, Inc., 806 F.2d 234, 238-240 (Fed.
                 14

                 15 Cir. 1986).

                 16             Samsung also incorporates by reference its Response to Apple’s Interrogatory No. 38,

                 17 regarding functionality of Apple’s asserted design patents.

                 18                 Invalidity Due to Indefiniteness
                 19
                                The asserted claim of the D'087 patent is also invalid under paragraph 2 of Section 112 of
                 20
                         Title 35 of the United States Code because the claim is indefinite in that the drawings depicting
                 21
                         the design do not enable a person skilled in the art to make the design. See Manuel of Patent
                 22

                 23 Examining Procedure § 1504.04; 1503.2 (“As the drawing or photograph constitutes the entire

                 24 visual disclosure of the claim, it is of utmost importance that the drawing or photograph be clear

                 25 and complete, and that nothing regarding the design sought to be patented is left to conjecture.”)

                 26 Where, as with the D'087 patent, design patent drawings are inconsistent and/or ambiguous and

                 27
                         leave the scope of the design open to conjecture, the patent may be rendered invalid due to
                 28
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                   1 indefiniteness. See, e.g., Seed Lighting Design Co., Ltd. v. Home Depot, 2005 WL 1868152, *8

                   2 (N.D. Cal. Aug. 3, 2005).

                   3
                                The drawings of the D’087 are subject to varying interpretations. For example, Apple
                   4
                         claims that the D'087 has a flat surface, but the D'087 figures have no surface details indicating
                   5

                   6 that the surface is flat or reflective similar to the designs shown in the D'677, D'270 and D'889

                   7 patents. The varying and inconsistent use of dotted lines within the figures of the D'087 patent is

                   8 also contrary to convention and creates uncertainty as to the scope of the design and whether

                   9
                         certain elements are or are not a part of the design, or are intended to be less important aspects of
                 10
                         the design, which is prohibited. See MPEP 1503.02. Because the drawings are subject to
                 11
                         conjecture and multiple interpretations, the D'087 is indefinite.
                 12

                 13                 Invalidity Due to Double Patenting

                 14             To the extent the D’087 patent is construed in any way other than very narrowly, such as to
                 15 require almost virtual identity for infringement, the D'087 patent is also invalid under the doctrine

                 16
                         of double patenting because it is substantially the same design that Apple sought to patent, and did
                 17
                         patent, in a number of other applications. For example, D'087, D558,758, D558,756, D580,387,
                 18
                         D581,922, D613,736, D634,319, D618,677, and D618678, among other Apple design patents, all
                 19

                 20 appear to be substantially the same design.

                 21             Incorporation by Reference of Other Materials
                 22
                                In support of all of its bases for invalidity of Apple’s asserted design patents, Samsung also
                 23

                 24 incorporates by reference the deposition testimony of witnesses providing testimony related to

                 25 Apple’s design patents, including Daniele de Iuliis, Rico Zorkendorfer, Matthew Rohrbach,

                 26 Bartley Andre, Duncan Kerr, Daniel Coster, Eugene Whang, Richard Howarth, Christopher

                 27 Stringer, Douglas Satzger, Jonathan Ive, Cooper Woodring, Itay Sherman, Erin Wong, Tracy

                 28
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                   1 Durkin, Quinn Hoellwarth, Peter Russell-Clarke, Richard Dinh, Phil Hobson, Mark Lee, Fletcher

                   2 Rothkopf, Steven Zadesky, Christopher Harris, Christopher Hood, Evans Hankey, Richard Lutton,

                   3
                         Christopher Prest, as well as all deposition testimony provided by third parties, and all exhibits
                   4
                         used in those depositions. Moreover, because Apple delayed in providing Samsung with identities
                   5
                         of all individuals involved in the designs and alleged embodiments at issue, Samsung currently
                   6
                         does not have all relevant testimony on this issue.
                   7

                   8            Samsung further incorporates by reference the file history of the D'087 patent and any
                   9
                         continuing application from the D'087 patent including reexaminations and reissue applications
                 10
                         and all documents cited during those proceedings; all documents cited on the face of or in the
                 11
                         D'087 patent; all related patents and file histories; and all of the documents produced or to be
                 12
                         produced by Apple or third parties constituting prior art.
                 13

                 14             Samsung also incorporates by reference the Declaration of Itay Sherman in Support of
                 15
                         Samsung’s Opposition to Apple’s Motion for a Preliminary Injunction (Dkt. No. 172), and any
                 16
                         and all expert reports that have been or may be submitted in this action that support the invalidity
                 17
                         of Apple’s asserted design patents.
                 18

                 19 For U.S. Patent No. D618,677

                 20                 Invalidity Under 35 U.S.C. § 102 or 103

                 21             Samsung identifies the following prior art that anticipates and/or renders obvious the
                 22 D'677 patent either expressly or inherently as understood by a person having ordinary skill in the

                 23
                         art at the time of the alleged invention, either alone or in combination with other references
                 24
                         identified below. These references are prior art under at least 35 U.S.C. §§ 102(a), (b), (e), (g)
                 25
                         and/or 103.
                 26

                 27             Without waiving any right to address additional design characteristics of this prior art that
                 28 anticipate and/or render obvious the design claimed in D’677, and without waiving any right to
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                   1 show that the design claimed in D'677 is indefinite, Samsung incorporates by reference all of the

                   2 prior art and explanatory discussion identified above regarding the D’087. Samsung also

                   3 identifies certain of those references, including numbers 1, 4, 6, 17, 18, 19, 25 and 31 as sharing

                   4 the sole additional characteristic claimed by Apple as part of the D’677 – a black front face.

                   5 Additionally, numbers 10, 23 and 32 could serve as primary references that would have been

                   6 obvious to one of ordinary skill in the art to combine with the black surface of numbers 1, 4, 6, 17,

                   7 18, 19, 25 or 31.

                   8            Samsung believes that the identified prior art, standing alone, or in combination, would

                   9 appear to an ordinary observer — giving such attention as a purchaser usually gives — to be

                 10 substantially the same as the design shown in D’677, rendering that patent invalid as anticipated

                 11 and/or obvious.

                 12
                         Bates Ranges of Prior Art Produced by Samsung
                 13             Samsung also incorporates by reference all prior art that has been produced and/or
                 14
                         disclosed by Samsung, including the documents listed in the Bates Ranges below. These
                 15
                         incorporated pieces of prior art further show that the design claimed by the D’677 patent is
                 16
                         obvious and anticipated:
                 17

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                 19 SAMNDCA00020782-20878; SAMNDCA00020900-20906; SAMNDCA00020978-20989;

                 20
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                 21
                         SAMNDCA00021479-21499; SAMNDCA00021505-21588; SAMNDCA00021593-21604;
                 22
                         SAMNDCA00021608-21632; SAMNDCA00021634-21805; SAMNDCA00021812-21857;
                 23

                 24 SAMNDCA00022451-22522; SAMNDCA00022732-22763; SAMNDCA00022802-22812;

                 25 SAMNDCA00022901-22971; SAMNDCA00022984-23064; SAMNDCA00023137-23182;

                 26 SAMNDCA00023234-23524; SAMNDCA00023542—23584; SAMNDCA00023591-24061;

                 27
                         SAMNDCA00024582-24662; SAMNDCA00024749-24752; SAMNDCA00027670-27722;
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                         SAMNDCA00198884-199046; SAMNDCA00199164-199222; SAMNDCA00199298-199306;
                   4
                         SAMNDCA00199402-199524; SAMNDCA00200425-200472; SAMNDCA00200617-200639;
                   5
                         SAMNDCA00200650-200658; SAMNDCA00200661-200665; SAMNDCA00200670-200676;
                   6
                         SAMNDCA00200686-200714; SAMNDCA00200724-200733; SAMNDCA00200737-200748;
                   7

                   8 SAMNDCA00200751-200788; SAMNDCA00200793-200806; SAMNDCA00200809-200838;

                   9 SAMNDCA00200843-200873; SAMNDCA00201264-201278; SAMNDCA00255026 –

                 10 SAMNDCA00256183; SAMNDCA00282113 - SAMNDCA00282120; SAMNDCA00326302 –

                 11
                         SAMNDCA00326557; SAMNDCA00359127-00365840; SAMNDCA00370485-00370527;
                 12
                         SAMNDCA00373535-374040.
                 13

                 14             Invalidity Due to Functionality

                 15             Samsung incorporates by reference its functionality response regarding the D’087, and
                 16 identifies the following additional functional elements of the D’677 design: In addition to the

                 17
                         overall design of D’677 being non-ornamental, and therefore functional, individual aspects of the
                 18
                         design are also functional and render its scope either invalid or indefinite. For example:
                 19

                 20                 •   Blackness of Surface – For similar reasons that the display screen mandates a

                 21                     transparent covering, it also is obvious that any single color applied to the front
                 22                     surface would be a shade of black given that display screens only come in shades of
                 23
                                        black. In addition, black is a particularly useful color for the surface of a phone. It
                 24
                                        efficiently hides the wiring and electronic components underlying it; it makes it
                 25
                                        easier to determine if the display of the device is turned on or off; it minimizes the
                 26

                 27                     appearance of the phone, making it seem smaller and less prominent than a bright

                 28                     color would; and it provides a sharply-defined contrast to edge of the screen that
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                   1                    helps the content of the display screen stand apart from whatever context the

                   2                    smartphone is in. The strong contrast also helps increase the saturation of the
                   3
                                        colors of the display screen, creating a finer impression of the quality of the display
                   4
                                        screen, and, given the vast consumer preference for black for electronic products
                   5
                                        well before January 2006, serves a neutral color choice for consumers, which does
                   6
                                        not send an overt message of flashiness or frivolity.
                   7

                   8 Samsung also incorporates by reference its Response to Apple’s Interrogatory No. 38, regarding

                   9 functionality of Apple’s asserted design patents.

                 10                 Invalidity Due to Indefiniteness
                 11
                                Samsung incorporates by reference its indefiniteness response regarding the D’087, and
                 12
                         identifies the following additional information regarding the D’677 design: The drawings of the
                 13
                         D’677 are subject to varying interpretations by Apple’s own named inventors of the D’677. For
                 14
                         example, Apple’s named inventors of the D’677 had differing opinions of what was depicted in
                 15

                 16 the drawings of the surface of the D’677. Compare De Iuliis Depo. Tr. 164:18-166:5 (stating that

                 17 the grid pattern on Figures 1 and 3 of the D’677 indicate a contiguous surface) with Kerr Depo. Tr.

                 18 (noting that the surface is illustrated with the designation for the color black). Additionally, many

                 19
                         of the figures in the D'677 contain dotted lines, which are typically used to show portions of the
                 20
                         environment surrounding a design that are not claimed. Yet, the D'677 patent does not make clear
                 21
                         whether the aspects of the design shown in dotted lines are included or excluded from the claimed
                 22

                 23 design. Indeed, the D'677 patent fails to state anything about the use of broken lines in the patent

                 24 figures. Thus, the use of dotted lines in the figures of the D'677 patent is contrary to convention

                 25 and creates uncertainty as to the scope of the design and whether certain elements are or are not a

                 26 part of the design, or are intended to be less important aspects of the design, which is prohibited.

                 27
                         See MPEP 1503.02. Because the figures in the D’677 patent are unclear and subject to multiple
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                   1 interpretations, even by the very inventors of the design, the D’677 is indefinite.

                   2
                                Invalidity Due to Double Patenting
                   3

                   4            Samsung incorporates by reference its double patenting response regarding the D’087.

                   5            Incorporation by Reference of Other Materials
                   6
                                In support of all of its bases for invalidity of Apple’s asserted design patents, Samsung also
                   7
                         incorporates by reference the deposition testimony of witnesses providing testimony related to
                   8
                         Apple’s design patents, including Daniele de Iuliis, Rico Zorkendorfer, Matthew Rohrbach,
                   9

                 10 Bartley Andre, Duncan Kerr, Daniel Coster, Eugene Whang, Richard Howarth, Christopher

                 11 Stringer, Douglas Satzger, Jonathan Ive, Cooper Woodring, Itay Sherman, Erin Wong, Tracy

                 12 Durkin, Quinn Hoellwarth, Peter Russell-Clarke, Richard Dinh, Phil Hobson, Mark Lee, Fletcher

                 13 Rothkopf, Steven Zadesky, Christopher Harris, Christopher Hood, Evans Hankey, Richard Lutton,

                 14
                         as well as all deposition testimony provided by third parties, and all exhibits used in those
                 15
                         depositions. Moreover, because Apple delayed in providing Samsung with identities of all
                 16
                         individuals involved in the designs and alleged embodiments at issue, Samsung currently does not
                 17

                 18 have all relevant testimony on this issue.

                 19             Samsung further incorporates by reference the file history of the D'677 patent and any
                 20
                         continuing application from the D'677 patent including reexaminations and reissue applications
                 21
                         and all documents cited during those proceedings; all documents cited on the face of or in the
                 22
                         D'677 patent; all related patents and file histories; and all of the documents produced or to be
                 23

                 24 produced by Apple or third parties constituting prior art.

                 25             Samsung also incorporates by reference the Declaration of Itay Sherman in Support of
                 26
                         Samsung’s Opposition to Apple’s Motion for a Preliminary Injunction (Dkt. No. 172), and any
                 27
                         and all expert reports that have been or may be submitted in this action that support the invalidity
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                   1 of Apple’s asserted design patents.

                   2

                   3
                         For U.S. Patent No. D622,270
                   4
                                    Invalidity Under 35 U.S.C. § 102 or 103
                   5
                                Samsung identifies the following prior art that anticipates and/or renders obvious the D'270
                   6
                         patent either expressly or inherently as understood by a person having ordinary skill in the art at
                   7

                   8 the time of the alleged invention, either alone or in combination with other references identified

                   9 below. These references are prior art under at least 35 U.S.C. §§ 102(a), (b), (e), (g) and/or 103.

                 10
                                Without waiving any right to address additional design characteristics of this prior art that
                 11
                         anticipate and/or render obvious the design claimed in D’270, and without waiving any right to
                 12
                         show that the design claimed in D'270 is indefinite, Samsung incorporates by reference all of the
                 13
                         prior art and explanatory discussion identified above regarding the D’087.
                 14
                                Samsung believes that the identified prior art, standing alone, or in combination, would
                 15
                         appear to an ordinary observer — giving such attention as a purchaser usually gives — to be
                 16
                         substantially the same as the design shown in D'270, rendering that patent invalid as anticipated
                 17
                         and/or obvious.
                 18

                 19 Bates Ranges of Prior Art Produced by Samsung

                 20             Samsung also incorporates by reference all prior art that has been produced and/or

                 21 disclosed by Samsung, including the documents listed in the Bates Ranges below. These

                 22 incorporated pieces of prior art further show that the design claimed by the D'270 patent is

                 23
                         obvious and anticipated:
                 24

                 25 SAMNDCA00019932-20034; SAMNDCA00020120-20303; SAMNDCA00020394-20498;

                 26 SAMNDCA00020782-20878; SAMNDCA00020900-20906; SAMNDCA00020978-20989;

                 27 SAMNDCA00021255-21313; SAMNDCA00021315-21336; SAMNDCA00021341-21471;

                 28
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                   1 SAMNDCA00021479-21499; SAMNDCA00021505-21588; SAMNDCA00021593-21604;

                   2 SAMNDCA00021608-21632; SAMNDCA00021634-21805; SAMNDCA00021812-21857;

                   3
                         SAMNDCA00022451-22522; SAMNDCA00022732-22763; SAMNDCA00022802-22812;
                   4
                         SAMNDCA00022901-22971; SAMNDCA00022984-23064; SAMNDCA00023137-23182;
                   5
                         SAMNDCA00023234-23524; SAMNDCA00023542—23584; SAMNDCA00023591-24061;
                   6
                         SAMNDCA00024582-24662; SAMNDCA00024749-24752; SAMNDCA00027670-27722;
                   7

                   8 SAMNDCA00198059-198067; SAMNDCA00198070-198096; SAMNDCA00198101-198274;

                   9 SAMNDCA00198289-198307; SAMNDCA00198313-198456; SAMNDCA00198754-198846;

                 10 SAMNDCA00198884-199046; SAMNDCA00199164-199222; SAMNDCA00199298-199306;

                 11
                         SAMNDCA00199402-199524; SAMNDCA00200425-200472; SAMNDCA00200617-200639;
                 12
                         SAMNDCA00200650-200658; SAMNDCA00200661-200665; SAMNDCA00200670-200676;
                 13
                         SAMNDCA00200686-200714; SAMNDCA00200724-200733; SAMNDCA00200737-200748;
                 14

                 15 SAMNDCA00200751-200788; SAMNDCA00200793-200806; SAMNDCA00200809-200838;

                 16 SAMNDCA00200843-200873; SAMNDCA00201264-201278; SAMNDCA00255026 –

                 17 SAMNDCA00256183; SAMNDCA00282113 - SAMNDCA00282120; SAMNDCA00326302 –

                 18 SAMNDCA00326557; SAMNDCA00359127-00365840; SAMNDCA00370485-00370527;

                 19
                         SAMNDCA00373535-374040.
                 20

                 21
                               Invalidity Due to Functionality
                 22
                               Samsung incorporates by reference its functionality response regarding the D’087.
                 23

                 24 Samsung also incorporates by reference its Response to Apple’s Interrogatory No. 38, regarding

                 25 functionality of Apple’s asserted design patents.

                 26
                                  Invalidity Due to Indefiniteness
                 27
                               Samsung incorporates by reference its indefiniteness response regarding the D’087, and
                 28
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                   1 identifies the following additional information regarding the D’270 design: The drawings of the

                   2 D’270 are subject to varying interpretations by Apple’s own named inventors of the D’270. For

                   3
                         example, certain of Apple’s named inventors of the D’270 testified that a certain portion of Figure
                   4
                         5 of the D’270 was the bezel, while others stated that they did not know what was depicted.
                   5
                         Compare, e.g., De Iuliis Depo. Tr. 175:23-176:12 and November 4, 2011 Deposition of
                   6
                         Christopher Stringer Tr. 114:23-117:5 (identifying the bezel) with Kerr Depo Tr. 41:16-44:14 and
                   7

                   8 October 24, 2011 Deposition of Matthew Rohrbach Tr. 139:4-140:8 (stating that they do not know

                   9 or cannot interpret whether the object shown is a bezel). Further, the use of dotted lines within the

                 10 figures of the D'270 patent is contrary to convention and creates uncertainty as to the scope of the

                 11
                         design and whether certain elements are or are not a part of the design, or are intended to be less
                 12
                         important aspects of the design, which is prohibited. See MPEP 1503.02. Because the figures in
                 13
                         the D’270 patent are unclear and subject to multiple interpretations by the very inventors of the
                 14

                 15 design, the D’270 is indefinite.

                 16                 Invalidity Due to Double Patenting
                 17
                                Samsung incorporates by reference its double patenting response regarding the D’087 and
                 18
                         adds the following additional information regarding the D’270 design: For example, the D’270,
                 19
                         D602,486, D602,014, D624,536, D622,718, D604,297, D613,735, D622,719 and D633,091,
                 20
                         among other Apple design patents, all appear to be substantially the same design.
                 21

                 22             Incorporation by Reference of Other Materials
                 23
                                In support of all of its bases for invalidity of Apple’s asserted design patents, Samsung also
                 24
                         incorporates by reference the deposition testimony of witnesses providing testimony related to
                 25
                         Apple’s design patents, including Daniele de Iuliis, Rico Zorkendorfer, Matthew Rohrbach,
                 26
                         Bartley Andre, Duncan Kerr, Daniel Coster, Eugene Whang, Richard Howarth, Christopher
                 27

                 28 Stringer, Douglas Satzger, Jonathan Ive, Cooper Woodring, Itay Sherman, Erin Wong, Tracy
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                   1 Durkin, Quinn Hoellwarth, Peter Russell-Clarke, Richard Dinh, Phil Hobson, Mark Lee, Fletcher

                   2 Rothkopf, Steven Zadesky, Christopher Harris, Christopher Hood, Evans Hankey, Richard Lutton,

                   3
                         as well as all deposition testimony provided by third parties, and all exhibits used in those
                   4
                         depositions. Moreover, because Apple delayed in providing Samsung with identities of all
                   5
                         individuals involved in the designs and alleged embodiments at issue, Samsung currently does not
                   6
                         have all relevant testimony on this issue.
                   7

                   8            Samsung further incorporates by reference the file history of the D'270 patent and any
                   9
                         continuing application from the D'270 patent including reexaminations and reissue applications
                 10
                         and all documents cited during those proceedings; all documents cited on the face of or in the
                 11
                         D'270 patent; all related patents and file histories; and all of the documents produced or to be
                 12
                         produced by Apple or third parties constituting prior art.
                 13

                 14 Samsung also incorporates by reference the Declaration of Itay Sherman in Support of Samsung’s

                 15
                         Opposition to Apple’s Motion for a Preliminary Injunction (Dkt. No. 172), and any and all expert
                 16
                         reports that have been or may be submitted in this action that support the invalidity of Apple’s
                 17
                         asserted design patents.
                 18

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                 20 For U.S. Patent No. D504,889

                 21             Samsung identifies the following prior art that anticipates and/or renders obvious the D'889

                 22 patent either expressly or inherently as understood by a person having ordinary skill in the art at

                 23
                         the time of the alleged invention, either alone or in combination with other references identified
                 24
                         below. These references are prior art under at least 35 U.S.C. §§ 102(a), (b), (e), (g) and/or 103.
                 25

                 26             Without waiving any right to address additional design characteristics of this prior art that

                 27 anticipate and/or render obvious the design claimed in D'889, and without waiving any right to

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                   1 show that the design claimed in D'889 is indefinite, the prior art shown below shares at least the

                   2 design characteristics identified below with those that Apple has claimed in D'889:

                   3

                   4 Prior Art Design Elements          Disclosure Rendering the Claim Unpatentable
                                                        1. 1981 Fidler Tablet (1981 – Exhibit B to Declaration of Roger
                   5 •       Rounded Corners               Filder in Support of Samsung’s Opposition to Apple’s Motion
                     •       Lack of Significant           for Preliminary Injunction)
                   6         Ornamentation
                   7 •       Rectangular Shape
                     •       Flat Clear Surface
                   8 •       Reflective or
                             Transparent Surface
                   9
                         •   Display Screen
                 10          Covering Substantial
                             Portion of Front Face
                 11 •        Display Screen in Center
                             of Device
                 12 •        Thin form factor
                 13 •        Substantially flat black
                    •        Border around display
                 14

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                   1                                    2. 1994 Knight-Ridder Tablet (1994 – Exhibit I to the
                     •       Rounded Corners            Declaration of Roger Fidler in Support of Samsung’s Opposition
                   2 •       Lack of Significant        to Apple’s Motion for Preliminary Injunction;
                             Ornamentation              FIDLER00000030)
                   3
                     •       Rectangular Shape
                   4 •       Flat Clear Surface
                     •       Display Screen
                   5         Covering Substantial
                             Portion of Front Face
                   6
                         •   Display Screen in Center
                   7         of Device
                     •       Thin form factor
                   8 •       Substantially flat back
                             panel that rounds up
                   9
                             near the edges
                 10 •        Border around display

                 11

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                   1                                    3.   1995 Fidler Tablet (1995)
                     •       Rounded Corners
                   2 •       Lack of Significant
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Clear Surface
                     •       Reflective or
                   5         Transparent Surface
                     •       Display Screen
                   6
                             Covering Substantial
                   7         portion of Front Face
                         •   Display Screen in Center
                   8         of Device
                         •   Thin form factor
                   9
                         •   Substantially flat back
                 10          panel that rounds up
                             near the edges to form
                 11          the thin rim
                         •   Border around display
                 12

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                   1                                    4.   1997 Fidler Tablet (1997)
                     •       Rounded Corners
                   2 •       Lack of Significant
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Clear Surface
                     •       Reflective or
                   5         Transparent Surface
                     •       Display Screen
                   6
                             Covering Substantial
                   7         Portion of Front Face
                         •   Display Screen in Center
                   8         of Device
                         •   Thin form factor
                   9
                         •   Substantially flat back
                 10          panel that rounds up
                             near the edges
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                   1                                  5.   EU RCD 48061-0001 (Bloomberg Tablet) (Filed June 24,
                     •      Rounded Corners                2003; Publication Date: August 19, 2003;
                   2 •      Lack of Significant            SAMNDCA00019932-19933)
                            Ornamentation
                   3
                     •      Rectangular Shape
                   4 •      Flat Continuous Surface
                     •      Display Screen
                   5        Covering Substantial
                            Portion of Front Face
                   6
                     •      Thin form factor
                   7 •      Back panel that rounds
                            up near the edges
                   8 •      Thin rim surrounding
                            the front surface
                   9

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                   1                                  6.   JP D1178470 (Registration Date: May 16, 2003;
                     •      Rounded Corners                Publications Date: July 7, 2003; SAMNDCA00027686-
                   2 •      Lack of Significant            00027690)
                            Ornamentation
                   3
                     •      Rectangular Shape
                   4 •      Flat Continuous Surface
                     •      Thin form factor
                   5 •      Substantially flat back
                            panel that rounds up
                   6
                            near the edges
                   7 •      Thin rim surrounding
                            the front surface
                   8

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                   1                                    7.   Japanese Design Patent JP-S-887388 — (Issued Dec. 21,
                     •       Rounded Corners                 1993; SAMNDCA00255215—SAMNDCA00255221)
                   2 •       Lack of Significant
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Reflective or
                   5         Transparent Surface
                     •       Display Screen
                   6
                             Covering Substantial
                   7         Portion of Front Face
                         •   Display Screen in Center
                   8         of Device
                         •   Thin form factor
                   9
                         •   Substantially flat back
                 10          panel that rounds up
                             near the edges
                 11 •        Border around display
                 12

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                   1                                    8.   JPD921403 (Filing Date: November 24, 1992; Issue Date:
                         •   Lack of Significant             March 9, 1995; SAMNDCA00255222-00255228)
                   2         Ornamentation
                     •       Rectangular Shape
                   3
                     •       Flat Continuous Surface
                   4 •       Display Screen
                             Covering Substantial
                   5         Portion of Front Face
                         •   Display Screen in Center
                   6
                             of Device
                   7 •       Border around display
                     •       Thin form factor
                   8         Substantially flat back
                             panel
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                   1                                    9.   U.S. Design Patent No. 337,569 (Filing Date: August 30,
                     •       Rounded Corners                 1992; Issue Date: July 20, 1993; SAMNDCA00023644-
                   2 •       Lack of Significant             00023646)
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Display Screen
                   5         Covering Substantial
                             Portion of Front Face
                   6
                         •   Display Screen in Center
                   7         of DeviceThin form
                             factor
                   8 •       Substantially flat back
                             panel
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                   1                                    10.   United States Design Patent D497,364 — (Filed Nov. 27,
                     •       Rounded Corners                  2002, Issued Oct. 19, 2004; SAMNDCA00326308 -
                   2 •       Lack of Significant              SAMNDCA00326314)
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Reflective or
                   5         Transparent Surface
                     •       Display Screen
                   6
                             Covering Substantial
                   7         Portion of Front Face
                         •   Display Screen in Center
                   8         of Device
                         •   Thin form factor
                   9
                         •   Substantially flat back
                 10          panel
                         •   Thin rim surrounding
                 11          the front surface
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                   1                                   11.   United States Design Patent D500,037 — (Filed
                     •       Rounded Corners                 September 3, 2002, Issued December 21, 2004;
                   2 •       Lack of Significant             SAMNDCA00027716 -0027722)
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Reflective or
                   5         Transparent Surface
                     •       Display Screen
                   6
                             Covering Substantial
                   7         Portion of Front Face
                     •       Thin form factor
                   8 •       Substantially flat back
                             panel
                   9
                         •   Thin rim surrounding
                 10          the front surface

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                   1                                    12.   Japanese Design Patent JP-S-1142127 — (Issued May 27,
                     •       Rounded Corners                  2002; SAMNDCA00255229—SAMNDCA00255246)
                   2 •       Lack of Significant
                             Ornamentation
                   3
                     •       Clear Flat Surface
                   4 •       Rectangular Shape
                     •       Display Screen
                   5         Covering Substantial
                             Portion of Front Face
                   6
                         •   Display Screen in Center
                   7         of Device
                     •       Thin form factor
                   8 •       Substantially flat back
                             panel that rounds up
                   9
                             near the edges
                 10 •        Thin rim surrounding
                             the front surface
                 11 •        Border around display
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                   1                                    13.   U.S. Patent No. 6,919,678 — (Filed November 20, 2002;
                     •       Rounded Corners                  Issued July 19, 2005; SAMNDCA00354855—
                   2 •       Lack of Significant              SAMNDCA00354872)
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Display Screen
                   5         Covering Substantial
                             Portion of Front Face
                   6
                         •   Display Screen in Center
                   7         of Device
                     •       Thin form factor
                   8 •       Substantially flat back
                             panel
                   9
                         •   Thin rim surrounding
                 10          the front surface
                    •        Border around display
                 11 •        Reflective or
                             Transparent Surface
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                         CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                   1                                    14.   The Tablet — (Publicly disclosed in 1988;
                         •   Lack of Significant              SAMNDCA00370485—SAMNDCA00370527)
                   2         Ornamentation
                     •       Rectangular Shape
                   3
                     •       Flat Continuous Surface
                   4 •       Reflective or
                             Transparent Surface
                   5 •       Display Screen
                             Covering Substantial
                   6
                             Portion of Front Face
                   7 •       Display Screen in Center
                             of Device
                   8 •       Thin form factor
                     •       Substantially flat back
                   9
                             panel
                 10 •        Border around display

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                   1                                    15.   The Brain Box Display — (Created in 1989; Shown in
                     •       Rounded Corners                  Appledesign: The Work of the Apple Industrial Design
                   2 •       Lack of Significant              Group, Paul Kunkel (1997); SAMNDCA00354743—
                             Ornamentation                    SAMNDCA00354746)
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Reflective or
                   5         Transparent Surface
                     •       Display Screen
                   6
                             Covering Substantial
                   7         Portion of Front Face
                         •   Display Screen in Center
                   8         of Device
                         •   Thin form factor
                   9
                         •   Substantially flat back
                 10          panel
                         •   Border around display
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                 16                                     16.   KR XX-XXXXXXX — (Application Date: June 29, 2001;
                    •        Rounded Corners                  Publication Date: August 16, 2002);
                 17 •        Lack of Significant              SAMNDCA00021593—SAMNDCA00021596)
                             Ornamentation
                 18 •        Rectangular Shape
                    •        Flat Continuous Surface
                 19
                    •        Reflective or
                 20          Transparent Surface
                    •        Display Screen
                 21          Covering Substantial
                             Portion of Front Face
                 22
                         •   Display Screen in Center
                 23          of Device
                    •        Thin form factor
                 24 •        Substantially flat back
                             panel
                 25
                         •   Thin rim surrounding
                 26          the front surface

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                   1                                    17.   German Registered Design 40301867-0001 — (Publication
                     •       Rounded Corners                  Date: September 10, 2003); SAMNDCA00020402—
                   2 •       Lack of Significant              SAMNDCA00020404)
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Reflective or
                   5         Transparent Surface
                     •       Display Screen
                   6
                             Covering Substantial
                   7         Portion of Front Face
                     •       Thin form factor
                   8 •       Thin rim surrounding
                             the front surface
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                 14                                     18.   U.S. Design Patent No. D461,802 — (Filed: August 29,
                    •        Rounded Corners                  2001; Issued: August 20, 2002); SAMNDCA00023750—
                 15 •        Lack of Significant              SAMNDCA00023757)
                             Ornamentation
                 16 •        Rectangular Shape
                    •        Flat Continuous Surface
                 17
                    •        Reflective or
                 18          Transparent Surface
                    •        Display Screen
                 19          Covering Substantial
                             Portion of Front Face
                 20
                         •   Display Screen in Center
                 21          of Device
                    •        Thin form factor
                 22 •        Substantially flat back
                             panel that rounds up
                 23          near the edges to form
                 24          the thin rim around the
                             front surface
                 25 •        Thin rim surrounding
                             the front surface
                 26 •        Border around display
                 27

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                   1                                    19.   HP Compaq TC 1000 (Filed: August 29, 2001; Issued:
                     •       Rounded Corners                  August 20, 2002); SAMNDCA00023750—
                   2 •       Lack of Significant              SAMNDCA00023757)
                             Ornamentation
                   3
                     •       Rectangular Shape
                   4 •       Flat Continuous Surface
                     •       Display Screen
                   5         Covering Substantial
                             Portion of Front Face
                   6
                         •   Display Screen in Center
                   7         of Device
                     •       Thin form factor
                   8 •       Substantially flat back
                             panel that rounds up
                   9
                             near the edges
                 10 •        Thin rim surrounding
                             the front surface
                 11 •        Border around display
                    •        Reflective or
                 12          Transparent Surface
                 13

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                    •        Rounded Corners            20.   Plastic Logic Tablet (2006)
                 16 •        Lack of Significant
                             Ornamentation
                 17 •        Rectangular Shape
                    •        Flat Continuous Surface
                 18
                    •        Reflective or
                 19          Transparent Surface
                    •        Display Screen
                 20          Covering Substantial
                             Portion of Front Face
                 21
                         •   Display Screen in Center
                 22          of Device
                    •        Thin form factor
                 23 •        Border around display
                 24

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                   1            Samsung believes that the identified prior art, standing alone, or in combination, would

                   2 appear to an ordinary observer — giving such attention as a purchaser usually gives — to be

                   3 substantially the same as the design shown in D'889, rendering that patent invalid as anticipated

                   4 and/or obvious.

                   5            Without waiving any right to address additional design characteristics of this prior art that

                   6 anticipate and/or render obvious the design claimed in D'889, at least the prior art references

                   7 numbered 1-4, 7-8, 12-13 and 15 in the chart above anticipate the D’889. Furthermore, any of

                   8 these references could serve as primary references that would have been obvious to one of

                   9 ordinary skill in the art to combine with the flat, continuous or reflective surface shown in

                 10 numbers 5, 9, 10, 11, and 17. Additionally, numbers 14, 18 and 19 could likewise serve as

                 11 primary references that would have been obvious to one of ordinary skill in the art to combine

                 12 with the thin form factor, flat continuous or reflective surface and/or rounded corners of numbers

                 13 1-5, 7-15 and 17-19.

                 14
                         Bates Ranges of Prior Art Produced by Samsung
                 15
                         Samsung also incorporates by reference all prior art that has been produced and/or disclosed by
                 16
                         Samsung, including the documents listed in the Bates Ranges below. These incorporated pieces of
                 17

                 18 prior art further show that the design claimed by the D'889 patent is obvious and anticipated:

                 19
                          SAMNDCA00019932-19943; SAMNDCA00020120-20247; SAMNDCA00020394-20498;
                 20
                         SAMNDCA00020903-20906; SAMNDCA00020978-20989; SAMNDCA00021281-21313;
                 21
                         SAMNDCA00021330-21336; SAMNDCA00021341-21436; SAMNDCA00021479-21485;
                 22

                 23 SAMNDCA00021505-21588; SAMNDCA00021593-21596; SAMNDCA00021800-21805;

                 24 SAMNDCA00022451-22506; SAMNDCA00022514-22520; SAMNDCA00022732-22763;

                 25 SAMNDCA00022802-22812; SAMNDCA00022901-22910; SAMNDCA00022984-23047;

                 26
                         SAMNDCA00023234-23265; SAMNDCA00023520-23524; SAMNDCA00023591-23801;
                 27
                         SAMNDCA00024582-24629; SAMNDCA00027686-27690; SAMNDCA00027692-27708;
                 28
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                   1 SAMNDCA00198059; SAMNDCA00198070-198076; SAMNDCA00198089-198096;

                   2 SAMNDCA00198109-198115; SAMNDCA00198134-198142; SAMNDCA00198245-198267;

                   3
                         SAMNDCA00198285-198289; SAMNDCA00198317-198318; SAMNDCA00198322;
                   4
                         SAMNDCA00198333-198336; SAMNDCA00198343-198344; SAMNDCA00198754-198808;
                   5
                         SAMNDCA00198884-198918; SAMNDCA00199164-199189; SAMNDCA00199204-199209;
                   6
                         SAMNDCA00199402-199411; SAMNDCA00199415-199419; SAMNDCA00199426-199432;
                   7

                   8 SAMNDCA00199439-199441; SAMNDCA00199445-199447; SAMNDCA00199454-199524;

                   9 SAMNDCA00200617-200639; SAMNDCA00200650-200658; SAMNDCA00200661-200665;

                 10 SAMNDCA00200670-200676; SAMNDCA00200686-200714; SAMNDCA00200724-200733;

                 11
                         SAMNDCA00200737-200740; SAMNDCA00201264-201271; SAMNDCA00255026-00256183;
                 12
                         SAMNDCA00282113-00282120; SAMNDCA00326302-00326557; SAMNDCA00359127-
                 13
                         00365840; SAMNDCA00370485-00370527; SAMNDCA00373535-374040.
                 14

                 15             Invalidity Due to Functionality
                 16
                                The asserted claim of the D'889 patent is also invalid because it is functional and not
                 17
                         ornamental. See Lee v. Dayton-Hudson Corp., 838 F.2d 1186, 1188 (Fed. Cir. 1988). Indeed, the
                 18
                         D'889 patent contains no ornamentation whatsoever, and therefore has nothing to protect. In
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                 20 addition to the overall design of D'889 being non-ornamental, and therefore functional, individual

                 21 aspects of the design are also functional and render its scope either invalid or indefinite. For

                 22 example:

                 23
                                    •   Rectangular Shape – Virtually any device used to view media—newspapers,
                 24

                 25                     movies, magazines, or television—has a rectangular shape. This is natural given

                 26                     that the device for viewing media is essentially merely a frame for the content of

                 27                     the media. Thus, the dominant trend for televisions, computer monitors, and
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                   1                 electronic readers has long been toward a rectangular shape with a reduced frame,

                   2                 well before the claimed invention of the Apple design patents. As Mr. Woodring
                   3
                                     testified in his deposition, rectangular screens are commonplace and not proprietary
                   4
                                     to anyone. Woodring Dep. Tr. at 28:1-21.
                   5
                                 •   Rounded Corners — Rounded corners are functional because they ensure
                   6

                   7                 comfort, safety, and ease of use. Pointed or sharp corners are uncomfortable to

                   8                 hold in one’s hands or rest anywhere on the body. Further, they may scratch or

                   9                 puncture the skin of the user, specifically in cases where the device falls. Pointed
                 10                  or sharp corners also may also snag or tear clothing or the material inside a
                 11
                                     briefcase, backpack, purse, or other carrying case. Rounded corners minimize all
                 12
                                     of these hazards. Rounded corner also make the device more durable. Pointed or
                 13
                                     sharp corners on designs are mechanical weak points and they may bend, snag, or
                 14

                 15                  break with the application of relatively little force. Rounded corners, on the other

                 16                  hand, are more robust and less likely to break. Rounded corners are easier and

                 17                  more reliable to manufacture – specifically, for plastic molds, creating clean and
                 18
                                     esthetic corners is difficult. Having changes in the thickness of plastic created in
                 19
                                     molds tends to leave marks on the surface; therefore it is better to have a uniform
                 20
                                     thickness.
                 21

                 22              •   Flat Surface — Because commercial display screens are flat, devices in which the

                 23                  functionality of the display screen has primary importance, the front surface of the

                 24                  device will be mostly flat. The use of display touch technology allows for removal
                 25                  of physical keys from the device’s front face. This helps keep the tablet surface
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                                     clean and minimizes the chances of dust or water encroachment, which could harm
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                                     the tablet. Having a smooth, continuous surface maximizes the significance of the
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                   1                 display screen—which is the primary reason for being of the tablet computer. With

                   2                 no unnecessary ornamentation, no tactile buttons, and no contrasting surface
                   3
                                     materials, nothing distracts from the user’s interaction with the display screen.
                   4
                                     Having a flat, rather than embedded, screen design for a tablet device also makes it
                   5
                                     easier to keep the device clean, since a flat surface does not accumulate dirt and
                   6
                                     other debris along the edges of the screen border like an embedded screen does.
                   7

                   8             •   Clear Surface Without Ornamentation — If a single continuous flat front

                   9                 surface is used on a tablet computer, having that surface be clear best allows
                 10                  unimpeded viewing of the display screen. The lack of ornamentation that Apple
                 11
                                     claims as part of its “ornamental design” is, by definition, not ornamental. Also,
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                                     given the functional purpose of the display screen, adding ornamentation around
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                                     (or on top of) the display screen would distract from the display screen, thus
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                 15                  detracting from the quality of the device’s functionality. The border around the

                 16                  screen shown in the D’889 is also functional. The display screen includes active

                 17                  components and wiring and a controller is required to activate the display. These
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                                     wires force the actual size of the display glass to be slightly larger than the active
                 19
                                     viewable area. The controller for the display may be either located on the glass
                 20
                                     substrate of the display (COG- Chip on Glass) or on a flexible cable extending
                 21
                                     from the display (COF – chip on flex). The space of the borders above or below
                 22

                 23                  the display screen accommodates the controller wiring.

                 24              •   Rim around front surface — Having a rim around a clear surface to hold it into
                 25                  place is the most obvious design choice for a mobile electronic device.
                 26
                                     Theoretically, the clear surface could be glued from underneath or clamped into
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                                     place by braces that do not surround the entire edge. However, leaving any part of
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                   1                    glass edges exposed would expose the front surface to cracking or scratching.

                   2                    Consider what would happen if, for example, the exposed edge of the surface hit
                   3
                                        the side of a table. For the same reason that watches have bezels, having a rim
                   4
                                        surrounding the surface of the tablet is a highly functional choice. Standard
                   5
                                        displays are made of a relatively fragile material that needs to be protected. To be a
                   6
                                        viable commercial product, a tablet needs to tolerate, to some extent, drops and
                   7

                   8                    casual bumps. Maintaining a border between the display and the exterior surface of

                   9                    the device functions to protect the display by absorbing the energy of such impacts
                 10                     directly. Together, these functions and physical limitations work to force the
                 11
                                        inclusion of a border between the active area of the display and the edge of the
                 12
                                        front surface in all four directions.
                 13
                                    •   Thinness of Design – The relative thinness of the tablet’s depth is functional.
                 14

                 15                     Being thin facilitates the mobility and portability of the tablet. The trend in

                 16                     electronics for the past decade has been to make products thin while still being

                 17                     resilient and usable. Samsung also hereby incorporates by reference its Response
                 18
                                        to Apple’s Interrogatory No. 38, regarding functionality of Apple’s asserted design
                 19
                                        patents.
                 20
                                    Invalidity Due to Indefiniteness
                 21
                                Samsung incorporates by reference its indefiniteness response regarding the D’087, and
                 22

                 23 identifies the following additional information: The drawings of the D’889 are subject to varying

                 24 interpretations by Apple’s own named inventors of the D’889. For example, certain of the named

                 25 inventors of the D’889 patent testified that Figure 1 of the D’889 showed a gap or groove near the

                 26 edge of the device, while other inventors testified that there was not a gap, and others stated that

                 27
                         they could not tell whether there was a gap. (Compare, e.g., October 21, 2011 Deposition of
                 28
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                   1 Daniele De Iuliis, Tr. 188:24-190:10 (agreeing that Figure 1 shows a gap) with October 31, 2011

                   2 Deposition of Richard Howarth, Tr. 100:9-13; 104:13-105:10 (testifying that he did not believe

                   3
                         Figure 1 was depicting a gap or groove) with October 27, 2011 Deposition of Daniel Coster, Tr.
                   4
                         29:3-30:21 (stating that he could not interpret with the Figure 1 of the 889 was depicting a gap or
                   5
                         groove)). One of Apple’s named inventors of the D’889 patent also testified that a dotted line in
                   6
                         Figure 1 of the D’889 could be “a number of things.” October 26, 2011 Deposition of Duncan
                   7

                   8 Kerr, Tr. 26:24-25; 27:2-17 (stating that a given line in Figure 1 of the D’889 could be the edge of

                   9 the active area of the display, or a demarcation of the inactive area from the touch perspective, or a

                 10 design detail). Additionally, one of Apple’s named inventors on the D’889 also indicated that

                 11
                         Figure 2 of the D’889 is subject to multiple interpretations. Kerr Depo. Tr. 27:19-28:25 (stating
                 12
                         that a tapering effect shown in Figure 2 of the D’889 could be an attempt at perspective or an
                 13
                         actual change in the thickness of the object, or a combination).
                 14

                 15             As another example of the indefiniteness of the D'889 drawings, Figure 2 and Figure 4
                 16 both appear to show the back or rear of the device, but only Figure 2 shows a surface detail of

                 17
                         three sets of diagonal lines. There is no explanation as to why these details are absent in Figure 4
                 18
                         or whether Figure 2 is showing a reflective or transparent back to the D'889 similar to the front
                 19
                         surface. Also, Figure 3 supposedly shows a top view of the device with the device positioned in
                 20

                 21 the landscape orientation. However, Figures 5-8, which purportedly depict the left, right, upper

                 22 and lower views of the device are incomprehensible if the device is oriented in the landscape

                 23 perspective. And Figure 9 purportedly shows the device in use, but the device appears to be in the

                 24 portrait orientation. The use of broken lines in the D'889 patent is also confusing and contrary to

                 25
                         convention.
                 26

                 27             Because the figures in the D’889 patent are unclear and subject to multiple interpretations,

                 28 even by the very inventors of the design, the D’889 is indefinite.
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                   1                Invalidity Due to Double Patenting

                   2            Samsung incorporates by reference its double patenting response regarding the D’087, and
                   3 identifies as further examples , D’889, D637,596 and D627,777, among other Apple design

                   4
                         patents, which all appear to be substantially the same design.
                   5

                   6            Incorporation by Reference of Other Materials

                   7            In support of all of its bases for invalidity of Apple’s asserted design patents, Samsung also

                   8 incorporates by reference the deposition testimony of witnesses providing testimony related to

                   9 Apple’s design patents, including Daniele de Iuliis, Rico Zorkendorfer, Matthew Rohrbach,

                 10
                         Bartley Andre, Duncan Kerr, Daniel Coster, Eugene Whang, Richard Howarth, Christopher
                 11
                         Stringer, Douglas Satzger, Jonathan Ive, Cooper Woodring, Itay Sherman, Roger Fidler, Erin
                 12
                         Wong, Tracy Durkin, Quinn Hoellwarth, Peter Russell-Clarke, Richard Dinh, Phil Hobson, Mark
                 13

                 14 Lee, Fletcher Rothkopf, Steven Zadesky, Christopher Harris, Christopher Hood, Evans Hankey,

                 15 Richard Lutton, as well as all deposition testimony provided by third parties, and all exhibits used

                 16 in those depositions. Moreover, because Apple delayed in providing Samsung with identities of

                 17
                         all individuals involved in the designs and alleged embodiments at issue, Samsung currently does
                 18
                         not have all relevant testimony on this issue.
                 19

                 20             Samsung further incorporates by reference the file history of the D'889 patent and any

                 21 continuing application from the D'889 patent including reexaminations and reissue applications

                 22 and all documents cited during those proceedings; all documents cited on the face of or in the

                 23
                         D'889 patent; all related patents and file histories; and all of the documents produced or to be
                 24
                         produced by Apple or third parties constituting prior art.
                 25

                 26             Samsung also incorporates by reference the Declaration of Itay Sherman in Support of

                 27 Samsung’s Opposition to Apple’s Motion for a Preliminary Injunction (Dkt. No. 172), and any

                 28
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                                       SAMSUNG’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO APPLE’S FIFTH SET OF
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                   1 and all expert reports that have been or may be submitted in this action that support the invalidity

                   2 of Apple’s asserted design patents.

                   3

                   4 For U.S. Patent Nos. D'790, D'305, and D'334

                   5 I. Invalidity Under 35 U.S.C. § 102 or 103
                            Samsung identifies the following additional prior art that anticipates and/or renders
                   6
                     obvious the D'790, D'305, and D'334 patents either expressly or inherently as understood by a
                   7

                   8 person having ordinary skill in the art at the time of the alleged invention, either alone or in

                   9 combination with other references identified below. These references are prior art under at least

                 10 35 U.S.C. §§ 102(a), (b), (e), (g) and/or 103.

                 11            Without waiving any right to address additional design characteristics of this prior art that
                 12
                        anticipate and/or render obvious the designs claimed in D'790, D'305, and D'334, and without
                 13
                        waiving any right to show that the designs claimed in D'790, D'305, and D'334 are indefinite, the
                 14
                        prior art shown below shares at least the following features with those that may be claimed in
                 15

                 16 D'790, D'305, and D'334:

                 17

                 18 Prior Art Features               Disclosure Rendering the Claim Unpatentable
                                                        1. BlackBerry 7130g (Released Sept. 2006)
                 19 •      Rectangular display
                           screen
                 20 •      Colorful array of icons
                    •      Icons in matrix pattern
                 21
                    •      Status bar or region at
                 22        top of display screen
                           including information
                 23        such as time, network,
                           battery power, and
                 24        signal strength.
                 25 •      Icons for various
                           applications such as
                 26        messages, telephone
                           calls, tasks, notes,
                 27        calculator, clock,
                           volume, calendar, and
                 28
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                                          SUBJECT TO PROTECTIVE ORDER
                        CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                   1 Prior Art Features                 Disclosure Rendering the Claim Unpatentable
                        address book.
                   2 • An icon featuring the

                   3    receiver of an analog
                        phone.
                   4 • An icon featuring a
                        yellow piece of paper.
                   5

                   6

                   7                                        2. BlackBerry 6710 (released Oct. 2002))
                        •   Rectangular display
                   8        screen
                   9 •      Array of icons in
                            matrix pattern
                 10 •       Status bar or region at
                            top of display screen,
                 11         including information
                 12         such as time, network,
                            battery power, and
                 13         signal strength.
                        •   Icons for various           
                 14         applications such as
                            messages, telephone
                 15
                            calling, tasks, notes,
                 16         calculator, clock,
                            volume, calendar,
                 17         address book.

                 18
                        •   Rectangular display             3. BlackBerry 7290 (released early 2005)
                 19         screen
                 20 •       Colorful array of icons
                    •       Icons in matrix pattern
                 21 •       Status bar or region at
                            top of display screen,
                 22         including information
                            such as time, network,
                 23
                            battery power, and
                 24         signal strength.
                        •   Icons for various
                 25         applications such as
                            messages, telephone
                 26         calling, tasks, settings,
                 27         notes, calculator,
                            clock, volume,
                 28         calendar, address
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                                       SAMSUNG’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO APPLE’S FIFTH SET OF
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                                          SUBJECT TO PROTECTIVE ORDER
                        CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                   1 Prior Art Features               Disclosure Rendering the Claim Unpatentable
                        book.
                   2 • An icon featuring the

                   3    receiver of an analog
                        phone.
                   4 • An icon featuring a
                        yellow piece of paper.
                   5
                                                         4. LG Prada — (Images available to public by December
                   6 •      Rectangular display             2006)
                            screen
                   7
                        •   Array of icons in
                   8        matrix pattern
                        •   Dock of four icons for
                   9        frequently used
                            applications either at
                 10
                            the bottom or side of
                 11         display
                        •   Dock of four square
                 12         icons at bottom of
                            display screen
                 13 •       Status bar or region at
                 14         top of display screen
                            including information
                 15         such as time, network,
                            battery power, and
                 16         signal strength.
                        •   Icons for various
                 17
                            applications such as
                 18         messages, telephone
                            calling, settings,
                 19         contacts.
                        •   An icon featuring the
                 20         receiver of an analog
                 21         phone.
                        •   An icon featuring a
                 22         gear wheel.
                        •   An icon featuring an
                 23         address book.
                 24

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                   1 Prior Art Features                 Disclosure Rendering the Claim Unpatentable
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                 14                                        5. BlackBerry 8700g (Released April 17, 2006)
                        •   Rectangular display
                 15         screen
                    •       Colorful array of icons
                 16 •       Icons in matrix pattern
                 17 •       Status bar or region at
                            top of display screen,
                 18         including information
                            such as time, network,
                 19         battery power, and
                            signal strength.
                 20
                        •   Icons for various
                 21         applications such as
                            messages, telephone
                 22         calling, tasks, settings,
                            notes, calculator,
                 23         clock, volume,
                 24         calendar, address
                            book.
                 25 •       An icon featuring the
                            receiver of an analog
                 26         phone.
                        •   An icon featuring a
                 27
                            yellow piece of paper.
                 28
02198.51855/4660268.2                                                                   Case No. 11-cv-01846-LHK
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                                       SAMSUNG’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO APPLE’S FIFTH SET OF
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                                          SUBJECT TO PROTECTIVE ORDER
                        CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                   1 Prior Art Features               Disclosure Rendering the Claim Unpatentable
                   2                                     6. Samsung F300 (Dec. 2006)
                        •   Rectangular Display
                   3        screen
                   4 •      Colorful array of icons
                     •      Dock at bottom of
                   5        display screen
                            containing frequently
                   6        used icons.
                   7 •      Status bar or region at
                            top of display screen,
                   8        including information
                            such as battery power
                   9 •      A series of dots above
                            a bottom row of icons
                 10
                        •   An icon featuring
                 11         musical eighth notes.

                 12                                      7. Samsung F700 – (Announced Feb. 2007)
                        •   Rectangular display
                 13         screen
                    •       Array of icons
                 14
                    •       Icons in matrix pattern
                 15 •       Icons for various
                            applications such as
                 16         messages, tasks,
                            settings, notes,
                 17         calendar, contacts
                 18 •       Dock of four
                            frequently used icons
                 19         or commands at
                            bottom of display
                 20 •       An icon featuring an
                            address book.
                 21
                        •   An icon featuring the
                 22         receiver of an analog
                            phone.
                 23 •       An icon featuring a
                            piece of lined paper.
                 24
                        •   An icon featuring
                 25         musical eighth notes.

                 26
                        •   Rectangular display          8. Korean Patent 30-20060005195 (Issued February 11,
                 27         screen                          2006).
                        •   Array of colored icons
                 28
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                        CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                  1 Prior Art Features               Disclosure Rendering the Claim Unpatentable
                       in matrix pattern
                  2 • Status bar or region at

                  3    top of display screen
                       including information
                  4    such as battery power
                       and signal strength.
                  5 • Icons for various
                       applications such as
                  6
                       messages, clock, web
                  7    browsing, settings,
                       music, and contacts.
                  8 • Rounded square
                       containers around the
                  9    icons.
                 10 • An icon featuring the
                       receiver of an analog
                 11    phone.
                    • An icon featuring gear
                 12    wheels.
                    • An icon featuring
                 13
                       eighth notes.
                 14 • An icon featuring a
                       silhouette of a
                 15    person’s head and
                       shoulders.
                 16
                    • An icon featuring a
                 17    spiral-bound pad.

                 18
                                                        9. Samsung Mobile UX Group — Intelligent Screen
                 19 •       Rectangular display            Interaction Studies — (July – September 2006)
                 20         screen                         (SAMNDCA00321457-656)
                        •   Array of icons in
                 21         matrix pattern
                    •       Rounded square icons.
                 22 •       Dock feature at bottom
                 23         of display screen.

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                   1 Prior Art Features        Disclosure Rendering the Claim Unpatentable
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                   1 Prior Art Features               Disclosure Rendering the Claim Unpatentable
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                 11
                                                         10. Motorola Razr (Released late 2004)
                 12 •       Rectangular display
                            screen
                 13
                    •       Colorful array of icons
                 14 •       Icons in matrix pattern
                    •       Icons for various
                 15         applications such as
                            messages, settings,
                 16         music, web browsing,
                 17         and contacts.
                        •   An icon featuring the
                 18         receiver of an analog
                            phone.
                 19

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                 24
                                                         11. BlackBerry 8700C (released Nov. 2005)
                 25 •       Rectangular display
                            screen
                 26 •       Colorful array of icons
                    •       Icons in matrix pattern
                 27 •       Status bar or region at
                 28         top of display screen,
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                        CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                  1 Prior Art Features           Disclosure Rendering the Claim Unpatentable
                       including information
                  2    such as time, carrier,
                       network, battery
                  3
                       power, and signal
                  4    strength.
                    • Icons for various
                  5    applications such as
                       messages, telephone
                  6    calling, tasks, contacts,
                  7    settings, and web
                       browsing.
                  8 • An icon featuring
                       wheel gears.
                  9 • An icon featuring

                 10    eighth notes.

                 11

                 12                                    12. BlackBerry 7130e (Released Nov. 2005)
                        •   Rectangular display
                 13         screen
                    •       Colorful array of icons
                 14 •       Icons in matrix pattern
                 15 •       Status bar or region at
                            top of display screen
                 16         including information
                            such as time, network,
                 17         battery power, and
                            signal strength.
                 18 •       Icons for various
                 19         applications such as
                            messages, calendar,
                 20         telephone calling,
                            tasks, contacts,
                 21         settings, notes, photos,
                            and web browsing.
                 22
                        •   An icon featuring the
                 23         receiver of an analog
                            phone.
                 24 •       An icon featuring a
                            yellow piece of paper.
                 25
                                                       13. RIM BlackBerry 7100V (~released Oct. 2004)
                 26
                        •   Rectangular display
                 27         screen
                    •       Colorful array of icons
                 28 •       Icons in matrix pattern
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                                       SAMSUNG’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO APPLE’S FIFTH SET OF
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                        CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                   1 Prior Art Features               Disclosure Rendering the Claim Unpatentable
                     • Status bar or region at
                   2    top of display screen
                   3    including information
                        such as time, carrier,
                   4    network, battery
                        power, and signal
                   5    strength.
                     • Icons for various
                   6
                        applications such as
                   7    messages, calendar,
                        telephone calling,
                   8    tasks, contacts,
                        settings, and notes.
                   9

                 10

                 11

                 12

                 13

                 14                                      14. Palm Treo (released ~ Nov. 2006)
                        •   Rectangular display
                 15         screen
                    •       Colorful array of icons
                 16 •       Icons in matrix pattern
                 17 •       Status bar or region at
                            top of display screen
                 18         including information
                            such as time, network,
                 19         battery power, and
                            signal strength.
                 20
                        •   Icons for various
                 21         applications such as
                            messages, calendar,
                 22         picture/video,
                            calculator, memos, and
                 23         contacts.
                 24 •       Text labels below each
                            icon.
                 25

                 26                                      15. Palm i705 (released ~ Jan. 2002)
                        •   Rectangular display
                 27         screen
                        •   Icons in matrix pattern
                 28
02198.51855/4660268.2                                                                  Case No. 11-cv-01846-LHK
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                                      SAMSUNG’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO APPLE’S FIFTH SET OF
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                        CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                  1 Prior Art Features                Disclosure Rendering the Claim Unpatentable
                    • Status bar or region at
                  2    top of display screen
                  3    including information
                       such as time and
                  4    battery power.
                    • Icons for various
                  5    applications such as
                       messages, calendar,
                  6
                       clock, calculator,
                  7    memos, notes, and
                       contacts.
                  8 • Indicator showing
                       location of currently
                  9    viewed icons within
                 10    full catalog of icons.
                    • Text labels below each
                 11    icon.
                    • An icon featuring the
                 12    receiver of an analog
                       phone.
                 13

                 14                                      16. United States Patent 7,844,913 (filed Jan. 11, 2005)
                        •   Rectangular display              (SAMNDCA00022764-22801); US 2005/0183026 A1
                 15         screen                           (Published Aug. 18, 2005)
                    •       Icons in matrix pattern
                 16 •       Status bar or region at
                            top of display screen
                 17
                            including information
                 18         such as time and
                            battery power.
                 19 •       Icons for various
                            applications such as
                 20         contacts, memos,
                 21         calculator, calendar,
                            settings, and notes.
                 22 •       Indicator showing
                            location of currently
                 23         viewed icons within
                            full catalog of icons.
                 24
                        •   Text labels below each
                 25         icon.

                 26

                 27

                 28
02198.51855/4660268.2                                                                  Case No. 11-cv-01846-LHK
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                                                                                     INTERROGATORIES (11-12)
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                        CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                   1 Prior Art Features              Disclosure Rendering the Claim Unpatentable
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                 21                                     17. United States Patent 7,152,210 — (Filed June 20, 2001;
                        •   Rectangular display             Issued Dec. 19, 2006) (SAMNDCA00023585-23590);
                 22
                            screen                          World Intellectual Property Organization, Int'l Publication
                 23 •       Icons for various               No. WO 01/29702 A2 (Published April 26, 2001)
                            applications such as            (SAMNDCA00024570-24581)
                 24         pictures and settings.
                        •   Rectangular icons.
                 25
                        •   Dock of icons arrayed
                 26         in a row.

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                 26                                      18. Japanese Patent Application 2004-290256 — (Published
                        •   Rectangular display              Oct. 26, 2005) (APL-ITC796-0000003794-3875); United
                 27         screen                           States Patent Application — (Filed Sept. 28, 2005)
                    •       Icons in matrix pattern          (SAMNDCA00199073-148)
                 28 •       Rectangular icons..
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                                                         19. European Community Design Registration No.
                 19
                        •   Rectangular display              000584529-0001 (Published Nov. 14, 2006)
                 20         screen                           (SAMNDCA00199220-222)
                    •       Icons in matrix pattern
                 21 •       Status bar or region at
                            top of display screen
                 22         including information
                 23         such as time, signal
                            strength, and battery
                 24         power.
                        •   Icons for various
                 25         applications such as
                            music, messages,
                 26
                            pictures, web
                 27         browsing, calendar,
                            and contacts.
                 28 •       Text labels below each
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                   1 Prior Art Features               Disclosure Rendering the Claim Unpatentable
                        icon.
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                 12                                      20. European Community Design Registration No.
                        •   Rectangular display              000505532-0001 (Published May 23, 2006)
                 13
                            screen                           (SAMNDCA00199223-226)
                 14 •       Colorful array of icons
                    •       Icons in matrix pattern
                 15 •       Icons for various
                            applications such as
                 16
                            messages, settings,
                 17         videos, contacts, and
                            web browsing.
                 18 •       Rounded rectangular
                            containers for each
                 19         icon.
                 20 •       An icon featuring the
                            receiver of an analog
                 21         phone.
                        •   An icon featuring a
                 22         gear wheel.
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                   2                                     21. European Community Design Registration No.
                        •   Rectangular display              000778741-0001 (Published April 9, 2007)
                   3
                            screen                           (SAMNDCA00199230-232)
                   4 •      Icons in matrix pattern
                     •      Status bar or region at
                   5        top of display screen.
                     •      Icons for various
                   6
                            applications such as
                   7        settings, music,
                            calendar, and contacts.
                   8 •      Contains icon with a
                            gear
                   9 •      Contains icon with
                 10         eighth notes and CD

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                                                         22. Korean Design Patent XX-XXXXXXX (Published Jan. 10,
                 20 •       Rectangular display              2006) (SAMNDCA00199270-275)
                            screen
                 21 •       Colorful array of icons
                    •       Icons in matrix pattern
                 22
                    •       Icons for various
                 23         applications such as
                            settings, pictures,
                 24         contacts, and voice
                            recordings
                 25 •       Rounded rectangular
                            containers for icons.
                 26
                        •   An icon featuring a
                 27         gear wheel.
                        •   An icon featuring an
                 28         address book.
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                 10                                      23. Korean Design Patent XX-XXXXXXX (Published Feb. 27,
                        •   Rectangular display              2007) (SAMNDCA00199288-292)
                 11         screen
                 12 •       Colorful array of icons
                    •       Icons in matrix pattern
                 13 •       Status bar or region at
                            top of display screen.
                 14 •       Icons for various
                 15         applications such as
                            web browser, camera,
                 16         calculator, settings,
                            clock, calendar, and
                 17         contacts.
                        •   Text labels below each
                 18
                            icon.
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                 17                                      24. Japanese Design Patent D1189312 (Issued Nov. 5, 2003)
                        •   Rectangular display              (SAMNDCA00199315-319)
                 18         screen
                 19 •       Colorful array of icons
                    •       Icons in matrix pattern
                 20 •       Status bar or region at
                            top of display screen.
                 21
                        •   Icons for various
                 22         applications such as
                            clock, settings,
                 23         calendar, and pictures.
                        •   Rounded rectangular
                 24         containers for each
                            icon.
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                                                         25. Japanese Design Patent D1279226 (Issued Aug. 21, 2006)
                 17 •       Rectangular display              (SAMNDCA00199346-353)
                            screen
                 18 •       Icons in matrix pattern
                    •       Icons for various
                 19         applications such as
                 20         settings, memos, and
                            pictures.
                 21 •       Rounded rectangular
                            containers for each
                 22         icon.
                        •   Dock at bottom of
                 23
                            display screen.
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                                                         26. Japanese Design Patent D1300217 (Issued May 14, 2007)
                 13 •       Rectangular display              (SAMNDCA00199354-358)
                            screen
                 14 •       Colorful array of icons
                 15 •       Icons in matrix pattern
                    •       Icons for various
                 16         applications such as
                            messages, settings,
                 17         videos, contacts, and
                            web browsing.
                 18
                        •   Rounded rectangular
                 19         containers for each
                            icon.
                 20 •       An icon featuring a
                            gear wheel
                 21
                        •   An icon featuring an
                 22         address book..

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                 18                                      27. United States Patent 6,983,424 (Filed June 23, 2000,
                        •   Rectangular display              Issued Jan. 3 2006) (SAMNDCA00199786-806)
                 19         screen
                        •   Icons in matrix pattern
                 20
                        •   Rectangular icons.
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                   3                                     28. United States Patent D445,428 (Filed April 5, 2000, Issued
                        •   Rectangular display              July 24, 2001) (SAMNDCA00200533-534)
                   4        screen
                     •      Icons in matrix pattern
                   5 •      Icons for various
                            applications such as
                   6        messaging, calendar,
                   7        contacts, memos,
                            tasks, and clock.
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                 22                                      29. Bluebird Pidion BM-200 (Released Nov. 2005)
                        •   Rectangular display
                 23         screen
                    •       Colorful array of icons
                 24
                    •       Icons in matrix pattern
                 25 •       Status bar or region on
                            display screen
                 26         including information
                            such as time and signal
                 27
                            strength.
                 28 •       Icons for various
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                   1 Prior Art Features               Disclosure Rendering the Claim Unpatentable
                        applications such as
                   2    media playing and
                        web browsing.
                   3
                     • Text labels below each
                   4    icon.

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                                                         30. United States Patent Application 2006/0107207
                 14 •       Rectangular display              ("Wada") (Filed Jan. 4, 2005; Published May 18, 2006;
                            screen                           issued as United States Patent 7,587,680 on Sept. 8, 2009)
                 15 •       Icons in matrix pattern
                    •       Square icons
                 16

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                 25                                      31. Mac OS X 10.4, Tiger — Dashboard (Released mid-2005)
                        •   Rectangular display
                 26         screen
                 27 •       Colorful array of icons
                    •       Icons for various
                 28         applications such as
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                   1 Prior Art Features               Disclosure Rendering the Claim Unpatentable
                        contacts, calculator,
                   2    calendar, and memos.
                   3 • Dock at bottom of
                        screen with most
                   4    frequently used icons
                     • Rounded rectangular
                   5    icons.
                   6

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                 11                                      32. BellSouth/IBM Simon Personal Communicator —
                        •   Rectangular display              (publicly announced 1993)
                 12
                            screen
                 13 •       Icons in matrix pattern
                    •       Status bar or region at
                 14         top of display screen,
                            including information
                 15
                            such as time.
                 16 •       Icons for various
                            applications such as
                 17         calendar, contacts,
                            clock, note pad,
                 18         messages, calculator,
                            and settings.
                 19
                        •   Text labels below each
                 20         icon.
                        •   Dock of four icons at
                 21         bottom of display
                            screen.
                 22
                        •   Square icons with
                 23         rounded corners.

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                 19                                      33. Nokia 7710 – (Nov. 2004)
                        •   Rectangular display
                 20         screen
                        •   Icons in matrix pattern
                 21
                        •   Status bar or region at
                 22         top of display screen
                            including information
                 23         such as signal strength
                            and battery strength.
                 24 •       Icons for various
                 25         applications such as
                            telephone calling,
                 26         messaging, contacts,
                            calendar, web
                 27         browsing, music,
                            camera, pictures, and
                 28
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                   1 Prior Art Features               Disclosure Rendering the Claim Unpatentable
                        settings.
                   2 • Text labels below each

                   3    icon.
                     • Location indicator.
                   4 • Square icons with
                        rounded corners.
                   5

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                   7                                     34. Amiga – (1987)
                        •   Rectangular display
                   8
                            screen
                  9 •       Icons in matrix pattern
                    •       Status bar or region at
                 10         top of display screen
                            including information
                 11         such as time.
                 12 •       Icons for various
                            applications such as
                 13         settings.
                        •   Text labels below each
                 14         icon.
                 15

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                 20                                      35. BeOS interface –
                        •   Rectangular display
                 21         screen
                 22 •       Colorful array of icons
                    •       Icons in rows
                 23 •       Icons for various
                            applications.
                 24 •       Text labels below each
                            icon.
                 25

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                                                         36. Xerox Star display – (1981)
                 12 •       Rectangular display
                            screen
                 13
                        •   Icons arranged in rows
                 14         and columns
                        •   Icons for various
                 15         applications and
                            documents.
                 16
                        •   Text labels for each
                 17         icon.
                        •   Square icons.
                 18

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                                                         37. Windows 95 – (1995)
                 24 •       Rectangular display
                            screen
                 25 •       Colorful array of icons
                    •       Icons arranged in rows
                 26
                            and columns
                 27 •       Icons for various
                            applications and
                 28         documents.
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                     • Text labels for each
                   2    icon.
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                 12                                      38. Windows Mobile 5.0 – (2005)
                        •   Rectangular display
                 13
                            screen
                 14 •       Colorful array of icons
                    •       Icons arranged in
                 15         matrix
                    •       Icons for various
                 16
                            applications such as
                 17         media player, web
                            browsing, calendar,
                 18         messaging, contacts,
                            and settings.
                 19 •       Text labels for each
                 20         icon.
                        •   Status bar or region at
                 21         top of display screen
                            including information     http://blogs.zdnet.com/mobile-gadgeteer/?p=286
                 22         such as signal strength
                            and battery strength
                 23

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                 26                                      39. Windows Mobile 6.0 – (Feb. 2007)
                        •   Rectangular display
                 27         screen
                    •       Colorful array of icons
                 28 •       Icons arranged in
02198.51855/4660268.2                                                                  Case No. 11-cv-01846-LHK
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                   1 Prior Art Features             Disclosure Rendering the Claim Unpatentable
                        matrix
                   2 • Icons for various

                   3    applications such as
                        media player, web
                   4    browsing, tasks,
                        calendar, messaging,
                   5    contacts, and settings.
                     • Text labels for each
                   6
                        icon.
                   7 • Status bar or region at
                        top of display screen
                   8    including information
                        such as signal strength
                   9    and battery strength
                 10

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                                                    http://blogs.zdnet.com/mobile-gadgeteer/?p=286
                 14

                 15                                    40. Tandy Zoomer –
                        •   Rectangular display
                 16         screen
                 17 •       Icons arranged in row
                    •       Icons forming a dock
                 18         at bottom of screen
                    •       Icons for various
                 19         applications such as
                            notes, calling,
                 20
                            messages, clock, and
                 21         calculator.

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                 18                                http://blogs.zdnet.com/mobile-gadgeteer/?p=286

                 19
                                                      41. Newton MessagePad – (various models)
                 20 •       Rectangular display
                            screen
                 21 •       Icons arranged in
                 22         matrix
                        •   Icons forming a dock
                 23         at bottom of screen
                        •   Icons for various
                 24         applications such as
                            notes, settings,
                 25
                            messages, clock, and
                 26         calculator.

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                 14                                      42. Handspring Visor –
                        •   Rectangular display
                 15         screen
                        •   Icons arranged in
                 16         matrix
                 17 •       Icons forming a dock
                            at bottom of screen
                 18         around the stylus entry
                            pad
                 19 •       Icons for various
                            applications such as
                 20
                            calculator, messages,
                 21         and memos.

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                                                      http://blogs.zdnet.com/mobile-gadgeteer/?p=286
                 28
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                   1 Prior Art Features              Disclosure Rendering the Claim Unpatentable
                   2                                    43. Phone Icons — (Various dates)
                        •   An icon featuring the
                   3
                            receiver of an analog
                   4        phone.
                        •   Receiver depicted at a              Samsung M4300 (2005)
                   5        near 45 degree angle.
                        •   Green color used
                   6        either for the phone                           Windows Mobile 5.0 (2005)
                   7        receiver or the phone.

                   8                                        (08.2007 – KU990Viewty)

                   9                                         (09.2007 - LG KS20)
                 10

                 11                                           (05.2007 - LG U960)

                 12
                                                               (Samsung SGH 800 (1999))
                 13
                                                            (Samsung SCH-X800 (2003))
                 14

                 15                                                Nokia 6310i (March 2002)

                 16
                                                             Skype (~2005-2006)
                 17                                     44. Settings Icons — (Various dates)
                        •   An icon featuring gear
                 18         wheel(s).

                 19

                 20                                                2002 Samsung (CDMA2000)
                 21

                 22

                 23                                           2004 Samsung (Mega2 model)

                 24

                 25
                                                              2005 design registration
                 26

                 27

                 28                                            Windows Mobile 5.0 (2005)
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                   1 Prior Art Features        Disclosure Rendering the Claim Unpatentable
                   2

                   3                                       㭧⋾⹎䟻GG(2002)
                   4

                   5

                   6
                                                            㦮㧻❇⪳GG(2004)
                   7

                   8
                                                       (2006 – Samsung SCH-U420)
                   9

                 10

                 11                                     (2004 Sony Ericsson Q4 T290)

                 12

                 13                                    (Dec. 2006 – LG ke850 prada)
                 14

                 15

                 16
                                                            GNOME 2.0 (2002 – “Applications”)
                 17

                 18

                 19
                                                            Windows 95 (1995 – “Settings”)
                 20

                 21

                 22

                 23                                         Windows 98 (1998 – “Settings”)

                 24

                 25

                 26                                           GNOME 2.0 (2002 – “Run”)
                 27

                 28
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                   1 Prior Art Features          Disclosure Rendering the Claim Unpatentable
                   2

                   3
                                                                (Slicer – 2006 Windows icons)
                   4

                   5

                   6
                                                               (Slicer – 2006 Windows Icons)
                   7

                   8
                                                            BlackBerry 8700c (Nov. 2005)
                   9

                 10

                 11                                       Windows Mobile 6 (Feb. 2007)
                 12

                 13                                  45. Notes Icons — (Various dates)
                        •   An icon featuring
                 14         paper bound at one   GEOS (1986)
                            edge
                 15

                 16

                 17

                 18
                                                 GeoWorks 1990-2002
                 19

                 20

                 21

                 22
                                                 Mac OS 1995-1999
                 23

                 24

                 25

                 26

                 27                              OS/2 (1992)
                 28
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                   1 Prior Art Features               Disclosure Rendering the Claim Unpatentable
                   2

                   3

                   4

                   5                                  OS/2 (1994)

                   6

                   7

                   8
                                                      OS/2 (1996)
                   9

                 10

                 11

                 12
                                                             BlackBerry 7130e (Nov. 2005)
                 13

                 14
                                                              BlackBerry 8700g (April 2006)
                 15

                 16

                 17                                          BlackBerry 7130g (Sept. 2006)

                 18                                      46. Contacts Icons — (Various dates)
                        •   Colorful icons that
                 19         include the silhouette
                 20         of a person’s head and
                            shoulders on or next to
                 21         a bound address book                     Palm Treo 700p (Q2 2006)
                            or information card.
                 22

                 23                                         Gigabyte GSmart q60 (May 2007)
                 24

                 25

                 26                                                 Windows Mobile 5.0 (2005)

                 27

                 28                                          Windows Mobile 6.0 (Feb. 2007)
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                   1 Prior Art Features            Disclosure Rendering the Claim Unpatentable
                   2

                   3                                      Vodafone v1240 (HTC Tornado Noble) (Jan. 2006)

                   4

                   5                                        Sony Clie PEG-NX73VE (Sept. 2003)
                   6

                   7

                   8

                   9                                            Blackberry 8703e (Verizon 2006)

                 10

                 11                                          BlackBerry 8700c (Nov. 2005)
                 12
                                                      47. Music Icons — (Various dates)
                 13 •      Colorful icons that
                           include eighth notes
                 14 •      Icons that include a
                           CD
                 15 •      Icons that include
                 16        eighth notes and a CD                 GNOME 2.0 (2002 – “Media Player”)

                 17

                 18

                 19                                             GNOME 2.0 (2002 – “CD Player”)
                 20

                 21

                 22

                 23
                                                                  OS/2 Warp 3 (1994 – “CD Player”)
                 24

                 25

                 26

                 27                                            Window NT 3.1 (1993 – “CD Player”)
                 28
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                   1 Prior Art Features          Disclosure Rendering the Claim Unpatentable
                   2

                   3
                                                                 BeOS Operating System -
                   4

                   5
                                                         (08.2002 – Samsung SCH-X650)
                   6

                   7

                   8                                     (06.2006 – SonyEricsson K800)

                   9

                 10                                       2007 SAMSUNG SGH-F700
                 11

                 12

                 13
                                                                   Nokia N77
                 14

                 15

                 16                                           (Slicer 2006 Windows icons)
                 17

                 18
                                                          BlackBerry 8700c (Nov. 2005)
                 19
                                                     48. Photos Icons — (Various dates)
                 20 •      Colorful icons or
                           images depicting an
                 21        orange or yellow
                           flower.
                 22

                 23                                        01.2007 Windows Vista

                 24

                 25

                 26
                                                                          Photoshop 2006
                 27

                 28
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                   1 Prior Art Features                 Disclosure Rendering the Claim Unpatentable
                                                           49. Text Messages Icons — (Various dates)
                   2 •     Colorful icons
                           featuring cartoon text
                   3
                           balloons of various
                                                                  01.2005 – Samsung SGH-Z130
                   4       shapes including
                           rounded rectangles.
                   5 •     Text balloons
                           including several
                   6       letters or a small
                   7       picture.                                 2005 AOL Icon

                   8
                                                                 2003 ICQ
                   9

                 10
                                                                    Blackberry 8830 (Q2 2007)
                 11

                 12

                 13
                               Samsung also incorporates by reference all prior art that was previously produced and/or
                 14

                 15 disclosed. These incorporated pieces of prior art further show that the designs claimed by the

                 16 D'790, D'305, and D'334 patents are both obvious and anticipated. Samsung also incorporates by

                 17 reference all testimony of Apple's inventors and employees, Samsung’s witnesses, and of other

                 18
                        relevant prior art witnesses.
                 19
                        E. Bates Ranges of Prior Art Produced by Samsung
                 20

                 21            SAMNDCA00020035-20119; SAMNDCA00020499-20575; SAMNDCA00020879-
                 22 20899; SAMNDCA00021500-21504; SAMNDCA00021894-22450; SAMNDCA00022764-

                 23
                        22801; SAMNDCA00023585-23590; SAMNDCA00024570-24581; SAMNDCA00199073-
                 24
                        199148; SAMNDCA00199210-199401; SAMNDCA00199525-200616; SAMNDCA00200640-
                 25
                        200649; SAMNDCA00200659-200660; SAMNDCA00200666-200669; SAMNDCA00200677-
                 26

                 27 200685; SAMNDCA00200715-200723; SAMNDCA00200734-200736; SAMNDCA00200749-

                 28 200750; SAMNDCA00200789-200791; SAMNDCA00200807-200808; SAMNDCA00200839-
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                   1 200842; SAMNDCA00200926-200927; SAMNDCA00200941-200952; SAMNDCA00200961-

                   2 200971; SAMNDCA00201021-201022; SAMNDCA00201076-201077; SAMNDCA00201095-

                   3
                        201097; SAMNDCA00201112-201113; SAMNDCA00201141-201142; SAMNDCA00201151-
                   4
                        201159; SAMNDCA00201168-201171; SAMNDCA00201183-201188; SAMNDCA00201205-
                   5
                        201206; SAMNDCA00201211-201220; SAMNDCA00201241-201249.
                   6

                   7           Samsung believes that the identified prior art, standing alone, or in combination, would

                   8 appear to an ordinary observer — giving such attention as a purchaser usually gives — to be

                   9
                        substantially the same as the designs shown in D'790, D'305, and D'334, rendering those patents
                 10
                        invalid as anticipated and/or obvious.
                 11

                 12 II. Invalidity Due to Functionality

                 13            The designs shown in the D'790, D'305, and D'334 patents are also functional and not
                 14
                        ornamental. Design patent law does not protect functional features. See Lee v. Dayton-Hudson
                 15
                        Corp., 838 F.2d 1186, 1188 (Fed. Cir. 1988). In addition to the overall designs of D'790, D'305,
                 16
                        and D'334 being non-ornamental, and therefore functional, each individual aspect of the designs is
                 17

                 18 also functional and renders the scope of the patents either invalid or indefinite. For example:

                 19
                                   •   Icons – Using icons instead of simply listing applications with text allows users to
                 20
                                       more quickly identify and execute the application they desire. This convention has
                 21
                                       been used for decades in personal computing programs.
                 22

                 23                •   Icons Arrayed in a Matrix – Arranging icons in a matrix or grid pattern as

                 24                    opposed to a more randomized or disorganized configuration follows traditional

                 25                    patterns of organization (e.g., ten-key calculators and touchtone phone key pads)
                 26                    and allows users to more quickly and efficiently scan and identify the available
                 27
                                       icons.
                 28
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                   1             •   Rectangular Display Screen – Using a rectangular display screen instead of a
                   2                 different shape maximizes the efficient use of screen space for displaying
                   3
                                     information. Computers monitors and displays have almost exclusively used
                   4
                                     rectangular display screens for the last several decades. Indeed, the rectangular
                   5
                                     display screen is dictated by the virtual non-availability of differently shaped LED
                   6

                   7                 displays used in mobile electronic devices.

                   8             •   Size of Icons – The icons are large enough to provide visual cues to the user, but

                   9                 small enough that they do not unnecessarily use up valuable real estate on the
                 10
                                     screen. The size of the icons is compatible for use in a touchscreen device operated
                 11
                                     by human fingers.
                 12
                                 •   Spacing of Icons –The spacing between the icons enables users to distinguish
                 13
                                     among different icons. It also helps to prevent users from inadvertently touching
                 14

                 15                  two icons at once when trying to launch a particular application. The icons are

                 16                  spaced closely enough, however, to maximize the display screen real estate.
                 17              •   Dock – The location of the dock at the bottom of the screen sets it apart from the
                 18
                                     remaining icons both visually and functionally. Not only does the dock not
                 19
                                     interfere with the moving pages of icons, it is also located in the most efficient
                 20
                                     place for the user to use a thumb to access it during one-handed control of the
                 21

                 22                  mobile device.

                 23              •   Page Dots – The page dots visible in the D’334 patent are useful for informing
                 24                  users about which page of icons they are currently viewing. This allows users to
                 25
                                     navigate from any particular display screen back to the main or home screen and
                 26
                                     vice versa without having to guess which page in the icon hierarchy they are
                 27
                                     viewing.
                 28
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                   1             •   Empty Row – For the D’790 and D’305 patents, the empty row just above the
                   2                 dock serves to distinguish between the lower and upper sets of icons. The empty
                   3
                                     space can also be used for adding more icons to the display screen.
                   4
                                 •   Text Labels – The short one- to two-word text labels below each icon in the D’334
                   5
                                     and D’305 patents further enables users to quickly and efficiently identify what
                   6

                   7                 application will be launched when the displayed icon is pressed. The size of the

                   8                 text is also dictated by its function: it needs to be large enough so that a user can

                   9                 read it, but small enough that it does not waste valuable screen real estate by
                 10
                                     encroaching on adjacent icons.
                 11
                                 •   Status Bar – The status bar in each patent segregates certain important information
                 12
                                     in a visually distinct region away from the icon grid. This configuration makes the
                 13
                                     process of determining the phone’s network, carrier, battery strength and signal
                 14

                 15                  strength much more efficient.

                 16 The following functionality considerations further invalidate the D’305 and D’334 patents:

                 17
                                 •   Using Images for Icons – The individual pictures or images that appear to be
                 18
                                     displayed in the D’305 and D’334 patents each conveys a message about the
                 19

                 20                  underlying application. The images are common metaphors that have been

                 21                  consistently used in iconography, as seen from the prior art. This convention of

                 22                  using common metaphors brings the D’305 and D’334 designs into conformity
                 23                  with wider icon usage so that users will have an intuitive understanding about what
                 24
                                     each icon is designed to represent. All of this makes the mobile device graphical
                 25
                                     user interface more intuitive, and therefore easier to use.
                 26
                                 •   Specific Icons – The icons that appear to be represented in D’305 and D’334 in
                 27

                 28                  most instances depict common metaphors used in numerous prior art devices
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                   1                because they quickly and efficiently communicate to users what application will

                   2                launch when the icon is pressed. This is due at least in part to the icons using
                   3
                                    logical real world metaphors that are intuitive for users and to these metaphors
                   4
                                    having been used consistently in numerous prior art computing devices. The icons
                   5
                                    in the D’305 and D’334 patents follow these standard, functional conventions and
                   6
                                    metaphors:
                   7

                   8                   o Settings Icon – A gear or gears symbolizing the inner-workings of the

                   9                       machine or device.
                 10                    o Notes Icon – A lined notepad representing a physical pad of note paper
                 11
                                           used for writing.
                 12
                                       o Music Icon – A set of eighth notes like those used in real world sheet
                 13
                                           music, and an image of a CD, representing a common medium for storing
                 14

                 15                        and playing music.

                 16                    o Contacts Icon – A silhouette of a person’s head and shoulders on a wire-

                 17                        bound address book, representing commonly used spiral-bound address
                 18                        books. The silhouette is a common convention in iconography to indicate
                 19
                                           that the application includes information about people.
                 20
                                       o Messaging Icon – A text balloon as used for decades in cartoons to
                 21
                                           represent spoken words. This metaphor has been used more recently in
                 22

                 23                        iconography to symbolize a written conversation.

                 24                    o Photos Icon – A picture of a flower symbolizing a photograph or set of

                 25                        photographs. Flowers are commonly the object of photography and images
                 26
                                           of flowers have been used previously to represent photo-editing software.
                 27

                 28
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                   1                           Flower icons are also commonly used on camera controls to indicate that

                   2                           the settings are designed for close-up pictures.
                   3
                               Moreover, Apple sought to obtain utility patents on the same graphical user interface
                   4
                        presumably at issue in the D'790, D'305, and D'334 design patents. See, e.g., US Patent
                   5
                        Application 2009/0064038 (filed Sept. 4, 2007; published Mar. 5, 2009) (SAMNDCA00200287).
                   6
                        This renders the design patents invalid because it confirms that the elements in the designs
                   7

                   8 claimed in D'790, D'305, and D'334 are functional. See PHG Techs., LLC v. St. John Cos., 469

                   9 F.3d 1361, 1366 (Fed. Cir. 2006) (noting that courts should consider "whether there are any

                 10 concomitant utility patents" when ruling on invalidity due to functionality); see also Power

                 11
                        Controls Corp. v. Hybrinetics, Inc., 806 F.2d 234, 238-240 (Fed. Cir. 1986).
                 12
                               Samsung also incorporates by reference its Response to Apple’s Interrogatory No. 38,
                 13
                        regarding functionality of Apple’s asserted design patents.
                 14

                 15 III. Invalidity Due to Indefiniteness

                 16            The asserted claims of the D'790, D'305, and D'334 patents are also invalid under
                 17
                        paragraph 2 of Section 112 of Title 35 of the United States Code because the claims are indefinite
                 18
                        in that the drawings and pictures depicting the design do not enable a person skilled in the art to
                 19
                        make the design.
                 20

                 21            For example, the patents are not limited to scale. A designer skilled in the art would not
                 22 know from the designs how to scale the elements in the design. For example, if the designer were

                 23
                        to enlarge the screen, it is unclear whether the icons would also need to be enlarged
                 24
                        proportionately, or if the icons should remain the same size so that new rows or columns of icons
                 25
                        could be added. If new squares or icons were to be added, the patent does not indicate what those
                 26

                 27 squares or icons should depict, if anything.

                 28
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                   1             Further, the use of broken or dashed lines within the figures of the D'790, D'305, and

                   2 D'334 patents is confusing and contrary to convention and creates uncertainty as to the scope of

                   3
                        the design and whether certain elements are or are not a part of the design, or are intended to be
                   4
                        less important aspects of the design, which is prohibited. See MPEP 1503.02. The description of
                   5
                        the broken lines in the Description section is also unhelpful in overcoming the uncertainty and
                   6
                        indefiniteness inherent in the designs of the D'790, D'305, and D'334 patents.
                   7

                   8 IV. Invalidity Due to Double Patenting

                   9
                                  The asserted claims of the D'305 and D'334 patent are also invalid under the doctrine of
                 10
                        double patenting because they are substantially the same design. D'790, D'305, and D'334 also
                 11

                 12 appear to be substantially the same design as several of Apple's non-asserted design patents:

                 13 D597,101 and D644,239.

                 14
                        IV. Incorporation by Reference of Other Materials
                 15
                                 In support of all of its bases for invalidity of Apple’s asserted graphical user interface
                 16
                        design patents, Samsung also incorporates by reference the deposition testimony of witnesses
                 17

                 18 providing testimony related to these design patents, including but not limited to Imran Chaudhri,

                 19 Freddy Anzures, Scott Forstall, Steve Lemay, and Evans Hankey, as well as all deposition

                 20 testimony provided by third parties, and all exhibits used in those depositions. Samsung also

                 21
                        incorporates by reference all testimony provided by Samsung witnesses. Moreover, because
                 22
                        Apple delayed in providing Samsung with identities of all individuals involved in the designs and
                 23
                        alleged embodiments at issue, Samsung currently does not have all relevant testimony on these
                 24
                        issue.
                 25

                 26              Samsung further incorporates by reference the file histories of the D'790, D'305, and D'334
                 27
                        patents and any continuing applications from the D'790, D'305, and D'334 patents including
                 28
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                   1 reexaminations and reissue applications and all documents cited during those proceedings; all

                   2 documents cited on the face of or in the D'790, D'305, and D'334 patents; all related patents and

                   3
                        file histories; and all of the documents produced or to be produced by Apple or third parties
                   4
                        constituting prior art.
                   5

                   6 Samsung also incorporates by reference the Declaration of Itay Sherman in Support of Samsung’s

                   7 Opposition to Apple’s Motion for a Preliminary Injunction (Dkt. No. 172), and any and all expert

                   8 reports that have been or may be submitted in this action that support the invalidity of Apple’s

                   9
                        asserted design patents.
                 10

                 11

                 12 Samsung’s investigation is ongoing and Samsung will supplement this interrogatory after a

                 13 reasonable investigation and further discovery from Apple on the basis for its infringement and

                 14
                        validity positions.
                 15

                 16

                 17 DATED: March 19, 2012                         Respectfully submitted,

                 18                                               QUINN EMANUEL URQUHART &
                                                                  SULLIVAN, LLP
                 19

                 20

                 21                                                 By /s/ Victoria F. Maroulis
                                                                      Charles K. Verhoeven
                 22                                                   Kevin P.B. Johnson
                                                                      Victoria F. Maroulis
                 23                                                   Michael T. Zeller
                                                                      Attorneys for SAMSUNG ELECTRONICS CO.,
                 24
                                                                      LTD., SAMSUNG ELECTRONICS AMERICA,
                 25                                                   INC. and SAMSUNG
                                                                      TELECOMMUNICATIONS AMERICA, LLC
                 26

                 27

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                                       SAMSUNG’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO APPLE’S FIFTH SET OF
                                                                                      INTERROGATORIES (11-12)
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                                          SUBJECT TO PROTECTIVE ORDER
                        CONTAINS HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY INFORMATION
                   1                                   CERTIFICATE OF SERVICE
                   2          I hereby certify that on March 19, 2012, I caused SAMSUNG’S SUPPLEMENTAL
                   3 OBJECTIONS AND RESPONSES TO APPLE INC.’S FIFTH SET OF

                   4 INTERROGATORIES (Nos. 11-12) to be electronically served on the following via email:

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                 15

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                 17           I declare under penalty of perjury that the foregoing is true and correct. Executed in
                 18 Redwood Shores, California on March 19, 2012.

                 19                                                            _/s/ Scott C. Hall________
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                                                                                   INTERROGATORIES (11-12)
